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15
                           UNITED STATES DISTRICT COURT
16
                         CENTRAL DISTRICT OF CALIFORNIA
17
18   DOMINIQUE PARRISH and                     Case No.:
     EVAN WOOD, individually, and on
19   behalf of a class of similarly situated   CLASS ACTION COMPLAINT
     individuals,                              FOR:
20
                  Plaintiffs,                  (1) Violations of California’s
21                                                 Consumers Legal Remedies Act
           v.                                  (2) Violations of Unfair Competition
22                                                 Law
     VOLKSWAGEN GROUP OF                       (3) Breach of Implied Warranty
23   AMERICA, INC. a Delaware                      pursuant to Song-Beverly
     limited liability company,                    Consumer Warranty Act
24                                             (4) Breach of Express Warranty
                  Defendant.                   (5) Breach of Implied Warranty under
25                                                 the Magnuson-Moss Warranty Act
                                               (6) Violation of the Pennsylvania
26                                                 Unfair Trade Practices and
                                                   Consumer Protection Law
27                                             (7) Unjust Enrichment
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                                           DEMAND FOR JURY TRIAL
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 1         1.     Plaintiffs Dominique Parrish (“Parrish”) and Evan Wood (“Wood”)
 2   (collectively “Plaintiffs”) bring this action for themselves and on behalf of all
 3   persons in the United States who purchased or leased any 2019-present Seventh
 4   Generation (A7) Volkswagen Jetta vehicle equipped with an Aisin AWF8F35 8-
 5   Speed Automatic Transmission (“Class Vehicles”) designed, manufactured,
 6   marketed, distributed, sold, warranted, and/or serviced by Volkswagen Group of
 7   America, Inc. (“VWGoA” or “Defendant”). Plaintiffs allege as follows:
 8                                   INTRODUCTION
 9         2.     This is a consumer class action concerning a failure to disclose
10   material facts and a safety concern to consumers.
11         3.     Volkswagen Group of America, Inc. manufactured, marketed,
12   distributed, and sold the Class Vehicles without disclosing that the Class
13   Vehicles’ Aisin AWF8F35 8-Speed Automatic Transmission (“Transmission”)
14   was defective.
15         4.     The all-new 2019 Volkswagen Jetta made its global debut at the
16   2018 North American International Auto Show in Detroit Michigan. VWGoA
17   CEO of North American Region touted that it “expect[ed] that this all-new car
18   will continue to resonate with buyers in the compact sedan class. With its
19   combination of great technology, fuel-efficient drivetrains, sporty styling,
20   upscale interior and amenities, and fun-to-drive nature, we expect the Jetta will
21   make a huge splash in the compact sedan market when it goes on sale.”1 While
22   the Jetta has made a splash, the splash is caused by the Transmission leaking oil.
23         5.     Dr. Matthias Erb, Volkswagen Chief Engineering Officer, North
24   American Region, said that VWGoA “knew [] buyers demand good value, and
25   our innovations will prove their value in everyday use.” One of those innovations
26
27         1
             “All-New 2019 Volkswagen Jetta Makes Global Debut at the North
     American International Auto Show,” Volkswagen Press Release,
28   https://media.vw/com/en-us/releases/973.
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 1   was the Transmission, which Defendant said was a “major boost…. which
 2   provides a wide band of drive ratios that allow more efficient running at higher
 3   speeds.”2 However, in everyday use, the Class Vehicles have proven to be
 4   unreliable, far from an efficiently running vehicle, and a safety hazard to its
 5   drivers and others.
 6         6.     Indeed, the Transmission is defective in that it grates, scuffs,
 7   scrapes, grinds, and ultimately suffers broken seals and oil leaks, resulting in
 8   catastrophic failure (the “Transmission Defect.”) On information and belief, the
 9   Transmission Defect arises from the torque converter.
10         7.     The Transmission Defect is inherent in each Class Vehicle and was
11   present at the time of sale.
12         8.     VWGoA undertook affirmative measures to conceal the
13   Transmission Defect and other malfunctions through, among other things,
14   “Technical Tips” issued to its authorized repair facilities. These Technical Tips
15   confirmed VWGoA’s knowledge of the Transmission Defect, but disregarded its
16   importance and cited it as “normal operating characteristics”.
17         9.     Although VWGoA was sufficiently aware of the Transmission
18   Defect from pre-production testing, design failure mode analysis, calls to its
19   customer service hotline, and customer complaints made to dealers. However,
20   this knowledge and information was exclusively in the possession of VWGoA
21   and its network of dealers and, therefore, unavailable to consumers.
22         10.     The Transmission Defect is material because it poses a serious
23   safety concern. As attested by Class Members in scores of complaints to the
24   National Highway Traffic Safety Administration (“NHTSA”), and other online
25   forums, the Transmission Defect can impair any driver’s ability to control his or
26
27         2
             “All-New 2019 Volkswagen Jetta Uses Advanced, Affordable
     Technology to Improve Fuel Economy,” Volkswagen Press Release,
28   https://media.vw/com/en-us/releases/994.
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 1   her vehicle and greatly increase the risk of collision.
 2         11.     The Transmission Defect is also material because consumers incur
 3   significant and unexpected repair costs. VWGoA’s failure to disclose, at the time
 4   of purchase, the Transmission’s marked tendency to fail is material because no
 5   reasonable consumer expects to spend hundreds, if not thousands, of dollars to
 6   repair or replace essential transmission components.
 7         12.     Had VWGoA disclosed the Transmission Defect, Plaintiffs and
 8   Class Members would not have purchased the Class Vehicles or would have paid
 9   less for them.
10                                      THE PARTIES
11   Plaintiff Dominique Parrish
12         13.     Plaintiff Parrish is a California citizen who resides in Irvine,
13   California.
14         14.     On or around May 18, 2018, Plaintiff Parrish purchased a new 2019
15   Volkswagen Jetta equipped with the Transmission from Norm Reeves
16   Volkswagen Superstore, an authorized VWGoA dealer in Irvine, California.
17         15.     Plaintiff Parrish purchased his vehicle primarily for personal,
18   family, or household use.
19         16.     Passenger safety and reliability were important factors in Plaintiff
20   Parrish’s decision to purchase his vehicle. Before making his purchase, Plaintiff
21   Parrish did an online search for the vehicle, including on “Google” and
22   “Youtube” videos, watched television ads, visited Defendant’s website to
23   research the 2019 Jetta, and test drove his vehicle with a dealership salesperson
24   who made no reference to the Transmission Defect. Plaintiff Parrish believed
25   that the Jetta would be a safe and reliable vehicle. Plaintiff Parrish also reviewed
26   the vehicle’s Monroney Sticker or “window sticker” which listed official
27   information about the vehicle, which also made no reference to the Transmission
28   Defect.
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 1         17.    VWGoA’s omissions were material to Plaintiff Parrish. Had
 2   VWGoA disclosed its knowledge of the Transmission Defect before he
 3   purchased his vehicle, Plaintiff Parrish would have seen and been aware of the
 4   disclosures. Furthermore, had he known of the Transmission Defect, Plaintiff
 5   Parrish would not have purchased his vehicle, or would have paid less for it.
 6         18.    Specifically, on or around August 15, 2018, with approximately
 7   2,418 miles on the odometer of his VW Jetta, Plaintiff Parrish delivered his
 8   vehicle to Norm Reeves Volkswagen complaining of “coffee grinder noise from
 9   engine or transmission….” The technician test drove the vehicle and determined
10   that it was “normal as designed due to transmission in lower gear no correction”
11   and returned the vehicle to Plaintiff Parrish without performing or attempting to
12   perform any transmission repairs.
13         19.    Accordingly, Plaintiff Parrish vehicle continues to exhibit the
14   Transmission Defect, continues to grind and has never been repaired by
15   Defendant.
16         20.    At all times, Plaintiff Parrish, like all Class Members, has driven his
17   vehicle in a manner both foreseeable and in which it was intended to be used.
18   Plaintiff Evan Wood
19         21.    Plaintiff Wood is a Pennsylvania resident who resides in Allentown,
20   Pennsylvania.
21         22.    On or around January 1, 2019, Plaintiff Wood purchased a new
22   2019 Volkswagen Jetta equipped with the Transmission from Young
23   Volkswagen, Inc., an authorized VWGoA dealer in Easton, California.
24         23.    Plaintiff Wood purchased his vehicle primarily for personal, family,
25   or household use.
26         24.    Passenger safety and reliability were important factors in Plaintiff
27   Wood’s decision to purchase his vehicle. Before making his purchase, Plaintiff
28   Wood watched television ads, visited Defendant’s website to research the 2019
                                               Page 4
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 1   Jetta, and test drove his vehicle with a dealership salesperson who made no
 2   reference to the Transmission Defect. Plaintiff Wood believed that the Jetta
 3   would be a safe and reliable vehicle and even spoke with the service manager of
 4   Young Volkswagen, Inc. who recommended the vehicle to Plaintiff Wood.
 5   Plaintiff Wood also reviewed the vehicle’s Monroney Sticker or “window
 6   sticker” which listed official information about the vehicle, which also made no
 7   reference to the Transmission Defect.
 8         25.    VWGoA’s omissions were material to Plaintiff Wood. Had VWGoA
 9   disclosed its knowledge of the Transmission Defect before he purchased his
10   vehicle, Plaintiff Wood would have seen and been aware of the disclosures.
11   Furthermore, had he known of the Transmission Defect, Plaintiff Wood would
12   not have purchased his vehicle, or would have paid less for it.
13         26.    Specifically, on April 20, 2019 and with 4,049 miles on the
14   odometer, Plaintiff Wood delivered his vehicle to Ciocca Volkswagen of
15   Allentown complaining that “there is a growl noise heard when driving less than
16   25 MPH, around 200 RPMS in 4th gear upshifting to 5th gear make (sip) the
17   noise, see TSB 32-18-01TT customer found.” The assigned technician
18   “confirmed noise, called tech line about eh noise. no faults found in system. tech
19   line referred to noise as torque cover. noise is normal in the vehicle. no repair
20   needed at this time.” The vehicle was returned to Plaintiff Wood with no repairs
21   performed.
22         27.    Unsatisfied, Plaintiff Wood delivered his vehicle to Young
23   Volkswagen, Inc. two days later on May 2, 2019 and with 4,110 miles on the
24   odometer. Plaintiff Wood complained that “Customer states noise coming from
25   trans Growl/rumble/scrape.” The assigned technician determined the “cause”
26   was “normal operation as per tech tip 32-018-01TT” and that “NO
27   CORRECTION WORKING AS PER DESIGNED AND SAME AS ALL 2019
28   JETTA.” The vehicle was thereafter again returned to Plaintiff Wood with no
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 1   repairs performed.
 2         28.    Plaintiff Wood would deliver his vehicle to North Penn Volkswagen
 3   on May 7, 2019 and with 4,250 miles on the odometer, continuing to complain of
 4   the Transmission Defect. Plaintiff Wood complained that “Customer states there
 5   is a grinding noise around 25 MPH when holding speed. Customer has also
 6   experienced the transmission up shifting into too high of a gear and you have to
 7   put he foot to the floor to make the car accelerate.” The assigned technician
 8   found the cause to be “vehicle found to be operating normally when compared to
 9   same or similar type vehicle.” The vehicle was returned to Plaintiff Wood a third
10   time without any repairs being performed and continuing the exhibit the
11   Transmission Defect.
12         29.    Accordingly, Plaintiff Wood vehicle continues to exhibit the
13   Transmission Defect, continues to grind and has never been repaired by
14   Defendant.
15         30.    At all times, Plaintiff Wood, like all Class Members, has driven his
16   vehicle in a manner both foreseeable and in which it was intended to be used.
17   Defendant
18         31.    Defendant VWGoA is a Limited Liability Company organized and
19   in existence under the laws of the State of New Jersey and registered to do
20   business in the State of California and Pennsylvania. VWGoA’s Corporate
21   Headquarters are located at 3800 Hamlin Rd., Auburn Hills, Michigan 48326.
22   VWGoA designs, manufactures, markets, distributes, services, repairs, sells, and
23   leases passenger vehicles, including the Class Vehicles, nationwide, and in
24   California and Pennsylvania. VWGoA is the warrantor and distributor of the
25   Class Vehicles in the United States.
26         32.    At all relevant times, VWGoA was and is engaged in the business of
27   designing, manufacturing, constructing, assembling, marketing, distributing,
28   and/or selling automobiles and motor vehicle components in Los Angeles
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 1   County and throughout the United States of America.
 2                                     JURISDICTION
 3         33.    This is a class action.
 4         34.    Members of the proposed Class are citizens of states different from
 5   the home state of Defendant.
 6         35.    On information and belief, the aggregate claims of individual Class
 7   Members exceed $5,000,000.00 in value, exclusive of interest and costs.
 8         36.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d).
 9                                          VENUE
10         37.    VWGoA, through its business of distributing, selling, and leasing
11   the Class Vehicles, has established sufficient contacts in this district such that
12   personal jurisdiction is appropriate. Defendant is deemed to reside in this district
13   pursuant to 28 U.S.C. § 1391(a).
14         38.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
15   because Plaintiff Parrish resides in the County of Orange, California. In addition,
16   Plaintiff Parrish’s Declaration, as required under California Civil Code section
17   1780(d) but not pursuant to Erie and federal procedural rules, reflects that a
18   substantial part of the events or omissions giving rise to the claims alleged herein
19   occurred, or a substantial part of property that is the subject of this action, is
20   situated in Orange County, California. It is attached as Exhibit 1.
21                              FACTUAL ALLEGATIONS
22         39.    Since Summer 2018, VWGoA has designed, manufactured,
23   distributed, sold, and leased the Class Vehicles. VWGoA has sold, directly or
24   indirectly, through dealers and other retail outlets, thousands of Class Vehicles in
25   California, Pennsylvania and nationwide. VWGoA warrants and services the
26   Class Vehicles through its nationwide network of authorized dealers and service
27   providers.
28         40.    The Transmission in the Class Vehicles is a “Medium Torque
                                                Page 7
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 1   Capacity FWD 8-Speed Automatic Transmission”. It has wide gear ratios and
 2   substantially lower torque loss which should enable enhanced engine performance
 3   and fuel efficiency. Further, the Transmission is made compact through a two-
 4   stage clutch structure.3 It is touted as the world's first 8 speed automatic
 5   transmission designed for use in transverse engine applications. Aisin designed the
 6   transmission to package in the same space as preceding 6 speed designs, while
 7   increasing the total gear spread and reducing gear spacing.4
 8         41.     The illustration below depicts the Transmission as a cut-out.
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20
21
22         42.     The Transmission has proven to be nothing but problematic. Since
23   its release, the Defective Transmission has been inundated with many customers
24   complaints of grating, scuffing, scraping, grinding, and cracking seals resulting
25   in oil leaks. All of these ultimately cause the catastrophic failure of the
26   Transmission. As such, many customers have had to completely replace their
27         3
               https://www.aisin-aw.co.jp/en/products/drivetrain/lineup/at.html
28         4
               https://en.wikipedia.org/wiki/AWF8F35
                                                Page 8
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 1   transmissions.
 2               The Transmission Defect Poses a Serious Safety Concern
 3         43.    The Transmission Defect is material to consumers because it
 4   presents a serious safety concern. Class Members have repeatedly reported
 5   disturbing failures to the National Highway Traffic Safety Administration
 6   (“NHTSA”). The following are complaints reflecting the safety risk posed:
 7         44.    On NHTSA’s website where consumer complaints about 2019 Jettas
 8   are posted,5 the following incident dated December 5, 2018 was reported on
 9   October 27, 2018:
10
                  WELL AGAIN MY I HAD TO TAKE MY 2019 JETTA
11                BACK TO LUNDE'S IN PEORIA, AZ. AFTER THE
                  TRANSMISSION LEAK WAS FIXED IN AUGUST, I
12                NOTICED ABOUT A MONTH LATER THE CAR
                  WAS JERKING A LOT AND NOT ACCELERATING
13                WHEN I HAD MY FOOT ON THE GAS PEDAL. (
                  LIKE WHEN YOU PUSH ON THE GAS, BUT
14                DISCOVER YOUR CAR IS NEUTRAL AND NOT
                  DRIVE.) THIS BECAME VERY DANGEROUS AND
15                THE DELAY TIME WAS GETTING LONGER AND
                  LONGER TO THE POINT WHERE IT WAS ABOUT
16                HALF A MINUTE BEFORE IT WOULD
                  ACCELERATE. OR WOULD BE ACCELERATING
17                FINE THEN MID DRIVE OR WHEN TURNING, IT
                  WOULD JUST STOP AND COAST AND NOTHING
18                WOULD HAPPEN WHEN YOU PUSHED YOUR
                  FOOT ON THE GAS OTHER THEN THE CAR
19                REVVING AND NOT MOVING. I TOOK MY JETTA
                  BACK INTO LUNDE'S (AGAIN) AND THEY HAD
20                MY CAR FOR A MONTH. THEY REPLACED THE O
                  RINGS, AS PEOPLE HAVE MENTIONED ON HERE
21                AND I WAS TOLD THAT NOW VW HAS REMADE
                  ALL THE O RINGS TO WORK AND FIT PROPERLY
22                IN THE TRANSMISSION. I PICKED UP MY CAR AT
                  LUNDE'S AND IMMEDIATELY WENT TO GET
23                GAS. I WAS WAITING IN LINE WITH THE CAR IN
                  PARK & STILL RUNNING. WHEN I WENT TO PUT
24                THE CAR IN DRIVE SAID RESTART ENGINE! SO
                  THE CAR SHUT OFF ON ME! I CALLED LUNDE'S
25                BACK AND WAS TOLD IF IT HAPPENS AGAIN TO
                  CALL THEM. WELL, IT DID, AND I DID NOT CALL
26                THEM BACK BECAUSE I OPENED UP A CASE
27
           5
           https://www.nhtsa.gov/vehicle/2019/VOLKSWAGEN/JETTA/
28   4%252520DR/FWD#complaints (last viewed June 6, 2019).
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                 WITH VW OF AMERICA TO TRY TO GET A
 1               BUYBACK OR REPLACEMENT VEHICLE. NOW I
                 HAVE TO WAIT TO SEE IF MY AUTO LOAN
 2               COMPANY FIRST INVESTORS WILL PROCESS
                 THE SUBSTITUTION OF COLLATERAL REQUEST.
 3               THIS WAY I CAN KEEP EVERYTHING THE SAME
                 ON MY LOAN (BC I UPGRADED AND NOW HAVE
 4               NEGATIVE EQUITY THE BUY BACK OPTION IS
                 NOT FINANCIALLY A GOOD OPTION FOR ME) SO
 5               OF COURSE MY AUTO LOAN COMPANY STATES
                 "THEY DO NOT DO THAT ANYMORE". SO NOW I
 6               AM GOING BACK AND FORTH WITH THEM SO I
                 AM NOT STUCK IN AN UNSAFE CAR. DO NOT
 7               BUY A 2019 JETTA UNTIL VW GETS IT FIGURED
                 OUT ON ALL THE FAULTY PARTS AND DO NOT
 8               GET AN AUTO LOAN WITH 1ST INVESTORS.
                 WHY IS THIS CAR NOT RECALLED YET?
 9
10         45.   On January 13, 2019, the following incident dated December 1,
11   2018 was reported:
12
                 IT APPEARS THAT THE MAJORITY AND OR ALL
13               OF THE NEW 2019 VOLKSWAGEN JETTA'S HAVE
                 TORQUE CONVERTER DEFECTS. THE DEFECT
14               CAUSES THE VEHICLE TO EMIT A LOUD SCRAPE
                 AND GRINDING NOISE WHICH CAN DISTRACT
15               THE DRIVER. THE COULD CAUSE DRIVERS TO
                 PULL OVER AND POTENTIALLY CAUSE AN
16               ACCIDENT.
17               THE NEW 2019 VOLKSWAGEN JETTA THAT I
                 HAVE BEEN DRIVING HAS BEEN TO THE SHOP 3
18               TIMES DUE TO THIS SOUND THE TRANSMISSION
                 IS MAKING ON THIS VEHICLE. I HAVE BEEN
19               TOLD THAT IT'S A 'NORMAL CHARACTERISTIC'
                 OF THE CAR. HOWEVER, THIS NEEDS TO
20               REVIEWED BY A 3RD PARTY AS PROPERLY
                 FUNCTIONING AND SAFE TRANSMISSIONS DO
21               NOT GRIND OR SCRAPE AS THESE NOISES
                 GENERALLY MEAN THAT INTERNAL DAMAGE
22               IS OCCURRING INSIDE OF THE VEHICLE'S
                 TRANSMISSION. VOLKSWAGEN ALLOWED ME
23               TO REVIEW A DOCUMENT STATING THEY WERE
                 AWARE OF THE TORQUE CONVERTER ISSUE
24               WITH THIS CAR, HOWEVER, THEY ARE
                 CLAIMING IT'S NORMAL. AGAIN, SAFE TORQUE
25               CONVERTERS DO NOT GRIND OR SCRAPE.
                 HERE'S THE ID TO THE VOLKSWAGEN
26               DOCUMENT THAT CAN BE REQUESTED FROM
                 VW: 32-18-01TT.
27
                 THE 2019 VW JETTA THAT I HAVE WAS TAKEN
28               TO A 3RD PARTY TRANSMISSION EXPERT AND I
                                            Page 10
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                 WAS TOLD THAT IT WAS A SERIOUS DEFECT
 1               AND THEY DID NOT FEEL SAFE TO DRIVE THE
                 CAR FOR EXTENDED PERIODS OF TIME. I FEEL
 2               THE SAME WAY, HOWEVER, I'M BEING TOLD BY
                 VW AND THEIR DEALERSHIPS THAT GRINDING
 3               TRANSMISSIONS ARE NORMAL AND SAFE
                 WHICH CONTRADICTS REALITY. GRINDING
 4               TRANSMISSIONS ON NEW VEHICLES ARE NOT
                 SAFE, THEY'RE DEFECTIVE AND SAYING THAT
 5               THEY ARE NORMAL IS LEGALLY CONCERNING.
 6               PLEASE LOOK INTO THE SAFETY AND VALUE
                 IMPLICATIONS OF THIS ISSUE FOR A NEW 2019
 7               VOLKSWAGEN     JETTA'S.   I   AM    VERY
                 CONCERNED FOR MY SAFETY AND JUST WANT
 8               THE PROBLEM FIXED BY VOLKSWAGEN. THEY
                 HAVE REFUSED TO HELP ME 3 TIMES AND I
 9               HAVE BEEN GIVEN A RUN AROUND BY VW
                 REGIONAL CARE PROVIDERS WITH THIS ISSUE,
10               TOO (IT'S BEEN A TERRIBLE EXPERIENCE
                 DEALING WITH VW AT TRYING TO GET THE
11               VEHICLE BOUGHT BACK FOR SUCH A BAD
                 DEFECT).
12
13         46.   On January 22, 2019, the following incident dated January 22, 2019
14   was reported:
15
                 8 SPEED AUTOMATIC TRANSMISSION HAS A
16               METALLIC GRINDING OR SCRAPING NOISE
                 WHEN OPERATING AT LOW RPM’S DURING
17               ACCELERATION. SPECIFICALLY AFTER THE
                 TRANSITION TO 5TH GEAR. THE POWERTRAIN
18               NOTICEABLY       HESITATES      DURING
                 ACCELERATION          WHEN         THIS
19               AFOREMENTIONED SOUND IS ACTIVE. IT’S
                 ONLY A MATTER OF TIME BEFORE THIS
20               TRANSMISSION FAILS AND LEAVES ME IN THE
                 MIDDLE OF A BUSY INTERSECTION. IT’S AN
21               EXTREMELY COMMON ISSUE ON THE 2019
                 VOLKSWAGEN       JETTA     THAT     THE
22               MANUFACTURER REFUSES TO ACKNOWLEDGE
                 AS AN ACTUAL PROBLEM. THEY CLAIM THE
23               SCRAPING AND GRINDING SOUND IS A
                 “NORMAL CHARACTERISTIC” OF THE CAR,
24               WHICH IS TOTALLY NONSENSICAL.
25
           47.    On January 31, 2019, the following incident dated December 10,
26
     2018 was reported:
27
28               MAJOR      GRINDING        NOISE      COMING        FROM
                                             Page 11
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                 TRANSMISSION DURING DRIVING, TYPICALLY
 1               WHEN GOING BETWEEN 20-40 MPH. THERE ARE
                 NUMEROUS COMPLAINTS OF THIS DEFECT,
 2               WHICH THE MANUFACTURER STATES AS
                 NORMAL. HOWEVER, IT DOES APPEAR TO BE A
 3               DEFECT WITH THE TORQUE CONVERTER THAT
                 COULD AFFECT THE SAFETY OF DRIVER AND
 4               PASSENGERS, AND SHORTEN THE LIFE OF THE
                 TRANSMISSION, WHILE ALSO REDUCING THE
 5               RESALE VALUE OF THE CAR. I TOOK THE CAR
                 TO THE DEALER AND WAS TOLD THAT IT WAS
 6               NORMAL BECAUSE THE SOUND EXISTED ON
                 ALL JETTAS. HOWEVER, JUST BECAUSE THE
 7               SAME SAFETY DEFECT APPEARS ACROSS AN
                 ENTIRE MODEL OF CAR DOES NOT MAKE IT
 8               NORMAL, IT MAKES IT WIDESPREAD. THERE
                 ARE OVER 13 COMPLAINTS NOW ABOUT THE
 9               VW POWER TRAIN, AND MOST OF THEM ARE
                 REGARDING THIS SPECIFIC ISSUE. PLEASE
10               START AN INVESTIGATION. ALSO, THE PDF
                 DOCUMENT OF VWS RESPONSE TO THIS ISSUE
11               IS NOT ABLE TO BE VIEWED ON YOUR WEBSITE,
                 THE LINK IS BROKEN OR DOC IS MISSING.
12
13         48.   On February 11, 2019, the following incident dated February 4,
14   2019 was reported:
15
                 BRAND NEW VEHICLE WITH 300 MILES. FROM
16               THE DAY I PICKED IT UP WITH 37 MILES, IT
                 GRINDS EVERY TIME IT ACCLERATES INTO 3RD
17               GEAR AUTOMATIC TRANS. DEALERSHIP
                 CONTACTED, SERVICE MGR STATED THIS IS
18               "NORMAL" FOR THIS TRANSMISSION. ALSO
                 STATED HIS HANDS ARE TIED ON WHAT HE CAN
19               DO BECAUSE VW HAS CALLED THIS "NORMAL."
                 HE ALSO SAID HE IS LIMITED IN WHAT HE CAN
20               DO AT THE LOCAL LEVEL BECAUSE "WE DIDN'T
                 MAKE THE CAR." THIS DOES NOT SOUND
21               "NORMAL" TO ME. I AM CONCERNED THAT MY
                 VEHICLE WILL INCUR LONG-TERM DAMAGE,
22               WHICH COULD LEAD TO A SIGNIFICANT PUBLIC
                 SAFETY RISK. IT ALSO REPRESENTS A
23               POTENTIAL FINANCIAL RISK FOR MYSELF AND
                 OTHER UNKNOWING BUYERS. THE REP. WHO
24               SOLD ME THE CAR SAID HE WAS UNAWARE OF
                 THIS ISSUE BUT THE SERVICE REP. WAS
25               CLEARLY AWARE. I AM VERY CONCERNED
                 THAT THE TRAIL OF DISCLOSURE WAS NOT
26               EXTENDED BEYOND THE SERVICE DESK TO
                 SALES AND, IN TURN, TO BUYERS LIKE MYSELF.
27
28         49.   On March 3, 2019, the following incident dated September 3, 2018
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 1   was reported:
 2
                 2019         VW          JETTA          S
 3               GRINDING/RATTLING/GROANING NOISE FROM
                 THE TORQUE CONVERTER. WHEN I BROUGHT
 4               THE CAR IN FOR THE 10,000 SERVICE, I TOLD
                 THE    SERVICE   MANAGER      THAT    THE
 5               TRANSMISSION WAS MAKING GRINDING AND
                 GROANING NOISES. THE SERVICE MANAGER
 6               SAID THAT THEY COULD NOT GET THE CAR TO
                 MAKE THE NOISE AND IT IS JUST A NORMAL
 7               SOUND, I AM VERY CONCERNED THAT
                 FURTHER USE OF THE VEHICLE IS UNSAFE AND
 8               WILL CAUSE THE TRANSMISSION TO FAIL
                 WHILE DRIVING. RECALLING OR BUYING BACK
 9               THESES THE VEHICLES WILL HELP CONSUMERS
                 AVOID POTENTIAL INJURIES AND ANY
10               FURTHER FINANCIAL HARDSHIPS.
11
           50.   On March 15, 2019, the following incident dated November 5, 2018
12
     was reported:
13
14               THE CAR PRODUCES A NOTICEABLE GRINDING
                 NOISE WHENEVER I AM ACCELERATING IN
15               BOTH ECO AND NORMAL MODES. THERE IS A
                 GRINDING FEELING IN THE PEDAL WHEN THE
16               GRINDING NOISE OCCURS. IT MAKES THE
                 VEHICLE   FEEL    UNSAFE.  VOLKSWAGEN
17               REFUSES TO ACKNOWLEDGE THE PROBLEM. I
                 FEEL AS THOUGH THE TRANSMISSION MAY
18               GIVE OUT AT ANY TIME.
19
           51.   On April 26, 2019, the following incident dated March 1, 2019 was
20
     reported:
21
22               I'VE HAD THE 2019 JETTA FOR ROUGHLY 30
                 DAYS NOW. I'VE NOTICED A STRANGE
23               GRINDING NOISE COMING FROM THE ENGINE
                 AROUND 30 MPH WHEN ACCELERATING UNDER
24               LIGHT LOAD. AS IF A DRIVER ATTEMPTS TO
                 SHIFT WHILE THE CLUTCH IS NOT ENGAGED,
25               THE CAR PRODUCES A GRINDING NOISE (BUT
                 THIS CARE IS AN AUTOMATIC). SO I DECIDED
26               TO TAKE IT INTO VW TO BE LOOKED AT
                 (YOUNG VW). THEY SAID AND I QUOTE "NOISE
27               IS NORMAL OPERATION OF THE DRIVE SYSTEM
                 WHEN ACCELERATING." THAT JUST DOESN'T
28               SEEM RIGHT TO ME.. MY HUSBAND HAS A
                                             Page 13
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                  REASONABLE AMOUNT OF AUTOMOTIVE
 1                KNOWLEDGE AND HAS MADE AN ASSERTIONS
                  THAT THE ISSUES IS RELATED TO THE THE
 2                TRANSMISSION PACKAGE; IN HIS OPINION ANY
                  ISSUE WITH THE TORQUE AT LOW RPMS.
 3
                  VW REFUSES TO EVEN LOOK AT THE ISSUE, AT
 4                THIS TIME.
 5                WE WORRY IS THE CAR IS DEFECTIVE AND IT
                  DAMAGES THE VALUE OF THE VEHICLE AND
 6                WORSE IT'S A SAFETY ISSUE AS IT CAUSES
                  ACCELERATED HEATING AND FAILURE RATE
 7                FOR THE ENTIRE TRANSMISSION SYSTEM.
 8                MY HUSBAND HAS RESEARCHED THE ISSUE ON
                  GOOGLE, DOCUMENT ID: 32-18-01TT PROVES
 9                THAT VW AG KNOWS THIS ISSUE IS A DEFECT
                  PART, THEY CLAIM THAT IT'S 'A NORMAL
10                CHARACTERISTIC OF THE VEHICLE' HOWEVER,
                  THE DOCUMENT LITERALLY MENTIONS THE
11                TERM 'SCRAPING'.
12                HE HAS ALSO TESTED THE CAR, AND IF HE PUT
                  THIS CAR IN MANUAL MODE AND RIGHT
13                BEFORE 4TH GEAR HITS 2000 RPM, SWITCH TO
                  5TH GEAR AND LET IT DROP TO AROUND 1300-
14                1400 RPM AND ACCELERATE LIGHTLY
                  (ESPECIALLY ON AN INCLINE); YOU'LL HEAR A
15                LOUD SOUND THAT SCRAPES ALL THE WAY TO
                  2000 RPM.
16
17         52.    In addition to sudden transmission failures, the Transmission Defect
18   presents a further safety concern because it causes the driver to lose all
19   transmission inputs, including acceleration. Unpredictable acceleration is unsafe,
20   particularly when changing lanes, merging onto highways, and turning left
21   across oncoming traffic.
22       VWGoA Had Superior and Exclusive Knowledge of the Transmission
23                                          Defect
24         53.    Since Summer 2018, VWGoA has designed, manufactured,
25   distributed, sold, and leased the Class Vehicles. VWGoA issued the first
26   Technical Tip regarding the Transmission Defect on October 26, 2018, within
27   months of the Class Vehicles being offered for sale on the market.
28         54.    As stated, Technical Tip 32-18-1TT entitled “Transmission Noise or
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 1   Scraping Sound When Shifting Gears” was first issued on October 26, 2018, and
 2   later revised on April 16, 2019. According to the original and later update,
 3   Defendant VWGoA determined that the Transmission Defect was a “normal
 4   operating characteristic of the torque converter stator as the torque clutch is
 5   applied.” No actual repairs were suggested or allowed. Importantly, this
 6   Technical Tip was not, and is not, disseminated to owners or prospective buyers.
 7         55.    Federal law requires automakers like VWGoA to be in close contact
 8   with NHTSA regarding potential auto defects, including imposing a legal
 9   requirement (backed by criminal penalties) compelling the confidential
10   disclosure of defects and related data by automakers to NHTSA, including field
11   reports, customer complaints, and warranty data. See TREAD Act, Pub. L. No.
12   106-414, 114 Stat.1800 (2000).
13         56.    Automakers have a legal obligation to identify and report emerging
14   safety-related defects to NHTSA under the Early Warning Report requirements.
15   Id. Similarly, automakers monitor NHTSA databases for consumer complaints
16   regarding their automobiles as part of their ongoing obligation to identify
17   potential defects in their vehicles, including those which are safety-related. Id.
18   Thus, VWGoA knew or should have known of the many complaints about the
19   Transmission Defect logged by NHTSA ODI. The content, consistency, and
20   disproportionate number of those complaints alerted, or should have alerted,
21   VWGoA to the Transmission Defect.
22         57.    With respect solely to the Class Vehicles, the following are but a
23   few examples of the many complaints concerning the Transmission Defect which
24   are available through NHTSA’s website, www.safercar.gov. Many of the
25   complaints reveal that VWGoA, through its network of dealers and repair
26   technicians, has been made aware of the Transmission Defect. In addition, the
27   complaints indicate that despite having knowledge of the Transmission Defect
28   and even armed with knowledge of the exact vehicles affected, VWGoA often
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 1   refused to diagnose the defect or otherwise attempt to repair it while Class
 2   Vehicles were still under warranty. When VWGoA did attempt repairs, it merely
 3   replaced the Transmission with a similarly defective Transmission.
 4         58.   On NHTSA’s website, the following incident dated July 9, 2018 was
 5   reported on August 15, 2018:
 6
                 THERE IS AN ISSUE WITH THE TORQUE
 7               CONVERTER IN THE 2019 JETTAS (AUTOMATIC).
                 WHEN DRIVING IN LOW RPM'S, THERE IS A
 8               LOUD GRINDING SOUND COMING FROM THIS
                 AREA. THIS AFFECTS DRIVE-ABILITY, AS YOU
 9               NEED TO DRIVE MORE AGGRESSIVELY TO
                 ELIMINATE THE SOUND. THERE ALSO ARE
10               MULTIPLE REPORTS OF TRANSMISSION FLUID
                 LEAKS. THESE ISSUES ARE ON BRAND-NEW
11               MODELS OF THIS VEHICLE.
12
           59.   On October 25, 2018, the following incident dated October 25, 2018
13
     was reported:
14
15               THERE IS AN ISSUE WITH THE TRANSMISSION
                 IN THE 2019 JETTAS (AUTOMATIC). WHEN
16               DRIVING IN LOW RPM'S BETWEEN 25-30MPH,
                 THERE IS A LOUD GRINDING SOUND COMING
17               FROM THE CAR. THIS AFFECTS HOW YOU MUST
                 DRIVE. AS SOMEONE ELSE STATED YOU MUST
18               DRIVE MORE AGGRESSIVELY TO ELIMINATE
                 THE SOUND. THERE ARE SEVERAL REPORTS OF
19               THIS WITH OTHER JETTA OWNERS IN MY AREA.
                 THIS HAPPENS CONSTANT. IT IS NOT AN
20               ISOLATED EVENT. I HAVE REPORT THIS TO MY
                 DEALERSHIP AS WELL.
21
22         60.   On October 30, 2018, the following incident dated October 27, 2018
23   was reported:
24
                 AFTER PURCHASING MY VEHICLE 2019 JETTA
25               AT THE END OF JUNE, I HAD TO HAVE MY
                 TRANSMISSION LEAK FIXED AND THE
26               TRANSMISSION REPAIRED FOR A LARGE LEAK.
                 IT TOOK OVER 2 WKS TO GET THE CAR BACK.
27               THEN FOR ABOUT A MONTH NOW, THE CAR HAS
                 BEEN RUNNING ROUGH, NOT ACCELERATING
28               WITHOUT A HUGE DELAY & JERKING. IT'S LIKE
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                 THE CAR IS IN NEUTRAL WHEN YOU TRY TO
 1               STEP ON THE GAS. THE DEALER SAID THEY
                 HAVE TO SEND A REP OUT FROM VOLKSWAGEN
 2               TO INSPECT MY VEHICLE AND THEY HAVE NO
                 IDEA HOW LONG THAT WILL TAKE SO I WILL
 3               HAVE THE LOANER VEHICLE INDEFINITELY. I
                 CALLED VOLKSWAGEN CUSTOMER CARE TO
 4               OPEN A CASE TO SEE IF I CAN GET A BUYBACK
                 OPTION BECAUSE THE DEALER STATED THERE
 5               IS NOTHING MORE THEY CAN DO AT THIS
                 POINT.
 6
 7         61.   On November 2, 2018, the following incident dated July 9, 2018
 8   was reported:
 9
                 THERE IS A LOUD AND PROMINENT GRINDING
10               NOISE THAT PRESENTS ITSELF WHEN
                 ACCELERATING, USUALLY THROUGH 5TH
11               GEAR.    IT  CAN   BE   MINIMIZED    BY
                 ACCELERATING VERY AGGRESSIVELY, BUT
12               ANY LESS AND THE GRINDING NOISE WILL BE
                 HEARD.
13
14         62.   On November 7, 2018, the following incident dated October 30,
15   2018 was reported:
16
                 GRIND NOISE AT 30 MPH, DIMINISHES AFTER
17               THAN STARTS AGAIN MORE FAINTLY AFTER 40
                 MPH. OCCASIONAL HARD DOWN SHIFTS WHEN
18               COMING TO A STOP.
19
           63.   On December 5, 2018, the following incident dated October 27,
20
     2018 was reported:
21
22               WELL AGAIN MY I HAD TO TAKE MY 2019 JETTA
                 BACK TO LUNDE'S IN PEORIA, AZ. AFTER THE
23               TRANSMISSION LEAK WAS FIXED IN AUGUST, I
                 NOTICED ABOUT A MONTH LATER THE CAR
24               WAS JERKING A LOT AND NOT ACCELERATING
                 WHEN I HAD MY FOOT ON THE GAS PEDAL. (
25               LIKE WHEN YOU PUSH ON THE GAS, BUT
                 DISCOVER YOUR CAR IS NEUTRAL AND NOT
26               DRIVE.) THIS BECAME VERY DANGEROUS AND
                 THE DELAY TIME WAS GETTING LONGER AND
27               LONGER TO THE POINT WHERE IT WAS ABOUT
                 HALF A MINUTE BEFORE IT WOULD
28               ACCELERATE. OR WOULD BE ACCELERATING
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                 FINE THEN MID DRIVE OR WHEN TURNING, IT
 1               WOULD JUST STOP AND COAST AND NOTHING
                 WOULD HAPPEN WHEN YOU PUSHED YOUR
 2               FOOT ON THE GAS OTHER THEN THE CAR
                 REVVING AND NOT MOVING. I TOOK MY JETTA
 3               BACK INTO LUNDE'S (AGAIN) AND THEY HAD
                 MY CAR FOR A MONTH. THEY REPLACED THE O
 4               RINGS, AS PEOPLE HAVE MENTIONED ON HERE
                 AND I WAS TOLD THAT NOW VW HAS REMADE
 5               ALL THE O RINGS TO WORK AND FIT PROPERLY
                 IN THE TRANSMISSION. I PICKED UP MY CAR AT
 6               LUNDE'S AND IMMEDIATELY WENT TO GET
                 GAS. I WAS WAITING IN LINE WITH THE CAR IN
 7               PARK & STILL RUNNING. WHEN I WENT TO PUT
                 THE CAR IN DRIVE SAID RESTART ENGINE! SO
 8               THE CAR SHUT OFF ON ME! I CALLED LUNDE'S
                 BACK AND WAS TOLD IF IT HAPPENS AGAIN TO
 9               CALL THEM. WELL, IT DID, AND I DID NOT CALL
                 THEM BACK BECAUSE I OPENED UP A CASE
10               WITH VW OF AMERICA TO TRY TO GET A
                 BUYBACK OR REPLACEMENT VEHICLE. NOW I
11               HAVE TO WAIT TO SEE IF MY AUTO LOAN
                 COMPANY FIRST INVESTORS WILL PROCESS
12               THE SUBSTITUTION OF COLLATERAL REQUEST.
                 THIS WAY I CAN KEEP EVERYTHING THE SAME
13               ON MY LOAN (BC I UPGRADED AND NOW HAVE
                 NEGATIVE EQUITY THE BUY BACK OPTION IS
14               NOT FINANCIALLY A GOOD OPTION FOR ME) SO
                 OF COURSE MY AUTO LOAN COMPANY STATES
15               "THEY DO NOT DO THAT ANYMORE". SO NOW I
                 AM GOING BACK AND FORTH WITH THEM SO I
16               AM NOT STUCK IN AN UNSAFE CAR. DO NOT
                 BUY A 2019 JETTA UNTIL VW GETS IT FIGURED
17               OUT ON ALL THE FAULTY PARTS AND DO NOT
                 GET AN AUTO LOAN WITH 1ST INVESTORS.
18               WHY IS THIS CAR NOT RECALLED YET?
19
           64.   On December 31, 2018, the following incident dated December 17,
20
     2018 was reported:
21
22               TL* THE CONTACT OWNS A 2019 VOLKSWAGEN
                 JETTA. WHILE DRIVING 25 MPH OR HIGHER, THE
23               CONTACT HEARD A LOUD BUZZING AND
                 GRINDING SOUND COMING FROM THE
24               TRANSMISSION. THE CONTACT TOOK THE
                 VEHICLE TO SUNRISE VOLKSWAGEN (931
25               SUNRISE HWY, LYNBROOK, NY 11563, (516) 596-
                 5970) TO HAVE THE TRANSMISSION CHECKED,
26               BUT AN APPOINTMENT COULD NOT BE MADE
                 UNTIL JANUARY 18, 2019. THE MANUFACTURER
27               STATED THAT THEY WOULD CONTACT NHTSA.
                 THE FAILURE MILEAGE WAS 250. *DT
28
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                 CONSUMER WAS TOLD BY THE DEALER NO
 1               "REPAIR" WOULD BE NEEDED THAT THEY FELT
                 IT IS NORMAL. *JB
 2
 3         65.   On January 13, 2019, the following incident dated December 1,
 4   2018 was reported:
 5
                 IT APPEARS THAT THE MAJORITY AND OR ALL
 6               OF THE NEW 2019 VOLKSWAGEN JETTA'S HAVE
                 TORQUE CONVERTER DEFECTS. THE DEFECT
 7               CAUSES THE VEHICLE TO EMIT A LOUD SCRAPE
                 AND GRINDING NOISE WHICH CAN DISTRACT
 8               THE DRIVER. THE COULD CAUSE DRIVERS TO
                 PULL OVER AND POTENTIALLY CAUSE AN
 9               ACCIDENT.
10               THE NEW 2019 VOLKSWAGEN JETTA THAT I
                 HAVE BEEN DRIVING HAS BEEN TO THE SHOP 3
11               TIMES DUE TO THIS SOUND THE TRANSMISSION
                 IS MAKING ON THIS VEHICLE. I HAVE BEEN
12               TOLD THAT IT'S A 'NORMAL CHARACTERISTIC'
                 OF THE CAR. HOWEVER, THIS NEEDS TO
13               REVIEWED BY A 3RD PARTY AS PROPERLY
                 FUNCTIONING AND SAFE TRANSMISSIONS DO
14               NOT GRIND OR SCRAPE AS THESE NOISES
                 GENERALLY MEAN THAT INTERNAL DAMAGE
15               IS OCCURRING INSIDE OF THE VEHICLE'S
                 TRANSMISSION. VOLKSWAGEN ALLOWED ME
16               TO REVIEW A DOCUMENT STATING THEY WERE
                 AWARE OF THE TORQUE CONVERTER ISSUE
17               WITH THIS CAR, HOWEVER, THEY ARE
                 CLAIMING IT'S NORMAL. AGAIN, SAFE TORQUE
18               CONVERTERS DO NOT GRIND OR SCRAPE.
                 HERE'S THE ID TO THE VOLKSWAGEN
19               DOCUMENT THAT CAN BE REQUESTED FROM
                 VW: 32-18-01TT.
20
                 THE 2019 VW JETTA THAT I HAVE WAS TAKEN
21               TO A 3RD PARTY TRANSMISSION EXPERT AND I
                 WAS TOLD THAT IT WAS A SERIOUS DEFECT
22               AND THEY DID NOT FEEL SAFE TO DRIVE THE
                 CAR FOR EXTENDED PERIODS OF TIME. I FEEL
23               THE SAME WAY, HOWEVER, I'M BEING TOLD BY
                 VW AND THEIR DEALERSHIPS THAT GRINDING
24               TRANSMISSIONS ARE NORMAL AND SAFE
                 WHICH CONTRADICTS REALITY. GRINDING
25               TRANSMISSIONS ON NEW VEHICLES ARE NOT
                 SAFE, THEY'RE DEFECTIVE AND SAYING THAT
26               THEY ARE NORMAL IS LEGALLY CONCERNING.
27               PLEASE LOOK INTO THE SAFETY AND VALUE
                 IMPLICATIONS OF THIS ISSUE FOR A NEW 2019
28               VOLKSWAGEN     JETTA'S.   I   AM    VERY
                                            Page 19
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                 CONCERNED FOR MY SAFETY AND JUST WANT
 1               THE PROBLEM FIXED BY VOLKSWAGEN. THEY
                 HAVE REFUSED TO HELP ME 3 TIMES AND I
 2               HAVE BEEN GIVEN A RUN AROUND BY VW
                 REGIONAL CARE PROVIDERS WITH THIS ISSUE,
 3               TOO (IT'S BEEN A TERRIBLE EXPERIENCE
                 DEALING WITH VW AT TRYING TO GET THE
 4               VEHICLE BOUGHT BACK FOR SUCH A BAD
                 DEFECT).
 5
 6         66.   On January 22, 2019, the following incident dated January 22, 2019
 7   was reported:
 8
                 8 SPEED AUTOMATIC TRANSMISSION HAS A
 9               METALLIC GRINDING OR SCRAPING NOISE
                 WHEN OPERATING AT LOW RPM’S DURING
10               ACCELERATION. SPECIFICALLY AFTER THE
                 TRANSITION TO 5TH GEAR. THE POWERTRAIN
11               NOTICEABLY       HESITATES      DURING
                 ACCELERATION          WHEN         THIS
12               AFOREMENTIONED SOUND IS ACTIVE. IT’S
                 ONLY A MATTER OF TIME BEFORE THIS
13               TRANSMISSION FAILS AND LEAVES ME IN THE
                 MIDDLE OF A BUSY INTERSECTION. IT’S AN
14               EXTREMELY COMMON ISSUE ON THE 2019
                 VOLKSWAGEN       JETTA     THAT     THE
15               MANUFACTURER REFUSES TO ACKNOWLEDGE
                 AS AN ACTUAL PROBLEM. THEY CLAIM THE
16               SCRAPING AND GRINDING SOUND IS A
                 “NORMAL CHARACTERISTIC” OF THE CAR,
17               WHICH IS TOTALLY NONSENSICAL.
18
     Customer Complaints on Third-Party Websites
19
           67.   Consumers similarly complained about the defect on various online
20
     forums. Below are some examples.
21
           68.   In a forum for 2019 Jettas on vwvortex.com, one commenter began
22
     a thread titled “Wierd noise”6 with a post dated June 17, 2018 as follows:
23
24               I've been an owner of my new 2019 Jetta SE for about
                 two weeks.. I've noticed something strange though that
25               idk if anyone else might have with there vehicles as well.
                 Starting my car from 0mph to about 25mph to 35 mph I
26               hear a wierd noise. Like I can hear the gears shift oddly..
27
           6
           https://forums.vwvortex.com/showthread.php?9205505-Wierd-
28   noise&highlight=Aisin+transmission (last viewed June 6, 2019).
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                 I never had a 1.4t or even a new car period , so I ignored
 1               it thinking it can a feature for safety or so. But it bothers
                 the heck out of me.. it feels as if the 2nd or 3rd gear shift
 2               makes this noise.. the performance isn't effected at all..
                 just this noise is wierd. Anybody out there have this issue
 3               at all?
 4
           69.   A consumer responded on this thread on July 11, 2018:
 5
 6               I also am experiencing this issue in my 2019 R-Line.
                 Purchased it under 3 weeks ago. The noise was really
 7               bothering me... took it to the dealer a few days after
                 purchase and they told me it was "normal DSG noise."
 8               Another few days go by and it was bothering me again
                 so I test drove another Jetta. It made the same noise. I
 9               then learned that this car doesn't actually have a DSG so
                 I took it to a different dealer to get a second opinion.
10               THEY FOUND A TRANSMISSION FLUID LEAK -
                 LEVELS WERE PRETTY LOW AND LIKELY
11               CAUSING DAMAGE!!!! They are still trying to figure
                 out the extent of the issue and working towards a
12               resolution. Needless to say i'm not a happy
                 camper...especially this being my first new car and
13               first(last?) Volkswagen. I wonder if this noise is directly
                 related and this transmission leak could be a wide spread
14               issue????
15
           70.    In the reviews section for 2019 Jettas on Edmunds.com,7 a
16
     consumer wrote on December 1, 2018:
17
18               Poor quality have had 5 issues in less than 5 months.
                 Dealer says one issue is normal, the grinding of brakes.
19               You can judge for yourself if you'd like, my review is on
                 youtube Under "Volkswagen VW 2019 Jetta review with
20               all 5 issues". The issue I'm most concerned with is the
                 brakes and you can hear the "normal" 3 minutes into the
21               video. Everyone I know says it's not regular. 30 years
                 of driving and never heard. It's great having a warranty
22               but when you bring it in for the third time and they say
                 there's nothing wrong it's pointless. They even said other
23               customers have complained but that's how Volkswagens
                 sound. Crazy. Of course there's the other issues
24               including a back panel popping off and a recall for water
                 leaks. Very very disappointed. Did I say very?
25
26         71.   On Edmunds.com, another consumer wrote on March 11, 2019:
27
           77
             https://www.edmunds.com/volkswagen/jetta/2019/consumer-
28   reviews/?pagesize=50&sorting=created%3Adesc (last viewed June 6, 2019).
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 1
                 This is the worst car I've ever had! My car has been in
 2               the shop around 9 times and I have only owned it for 8
                 months! Numerous problems with my crash sensors, and
 3               blind spot monitor sensors going off at the wrong time,
                 so unsafe! I have expressed to my local dealer numerous
 4               times that the car has a steady murmur coming from the
                 engine and it took me 3 separate trips to the dealer for
 5               them to hear the noise, they looked at me like I was crazy
                 until other customers reported the noise as well. My car
 6               sat in the shop for a little over a week just for them to tell
                 me nothing was wrong with it. The last time I took it to
 7               the dealer they had told me VW Corporate was aware of
                 the issue and were actively working on a solution. Well,
 8               fast forward 2 months later I still have not hear a thing
                 back about it. I also just found out there are 3 current
 9               recalls on the car so I am beyond frustrated that my car
                 is currently been in the shop. Too bad I am stuck with
10               the car for another 3 years.
11
           72.   On Edmunds.com, another consumer wrote on March 13, 2019:
12
13               If I could turn back time... I never would have leased this
                 VW! I should run as soon as I figured out that no one at
14               the dealership knew how to properly register a lease. But
                 I didn’t, so now I’m stuck...Don’t miss your first oil
15               change, because the car is leaking transmission fluid
                 from faulty materials in and around the transcooler. Oh
16               and be prepared for all of the recalls to need to be fixed
                 when you arrive for that first oil change. Shortly after the
17               oil change, you can expect the heat to stop working. Be
                 prepared for everyone to laugh at your brand new car and
18               the sound it makes at around 30-40mph because of faulty
                 materials again... oh but VW will deny that part... it’s
19               normal for a 2019 to growl and grind. SMH I’m sure I’ll
                 be able to comment on here dozens and dozens of times
20               before my lease runs out... If only I could turn back
                 time...
21
22         73.   In the reviews section for 2019 Jettas on cars.com,8 a consumer
23   wrote on August 28, 2018:
24
                 Have owned 2019 Jetta for 5 weeks. First week was fine..
25               2nd week I noticed an audible noise coming from the
                 transmission. (Like a grinding noise) when driving in
26               standard mode. It has gotten worse in the past 2 weeks. I
27
           88
             https://www.cars.com/research/volkswagen-jetta-2019/consumer-
28   reviews/ (last viewed June 6, 2019).
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                 took the car in to local vw dealer. We took it for a test
 1               drive and technician said he does hear and feel it. I
                 waited 2 more hours for service mgr to come tell me its
 2               normal??? xxx? Im sorry, but a brand new car does NOT
                 make strange noises in the 20-30mph range). I come to
 3               find out a week later, others are now experiencing this
                 same issue and VW continues to "blow it off" as
 4               Normal? I think vw has a major issue going on and they
                 dont want to admit it at this point. 6 year warranty or not,
 5               driving aound and when your family asks you what they
                 strange noise is I just shrug it off... Embarassed to have
 6               purchased this car. I will be going thru VW channels to
                 return this car and get Refunded... AVOID the 2019
 7               VW's w/ 8 speed transmissions. Check out vwvortex web
                 site.. Many folks on there now voicing their concerns
 8               over this future recall.
 9
           74.   On cars.com, another consumer wrote on October 4, 2018:
10
11               I was super excited to get a brand new car... my
                 excitement quickly died when the car started making
12               noises. Between 30-40 mph, the car makes a growling
                 noise - very loud and obvious People are asking what it
13               is - so embarrassing! Then the backup camera went out
                 twice! I took the car to VW, they beat around the bush
14               and won’t look at it, said I can come back another day...
                 even though I made an appointment 3 days prior. ’ I will
15               never drive a VW again - I’ll be telling everyone I know
                 about this - it’s about time this company goes out of
16               business.
17
           75.   On cars.com, another consumer wrote on October 23, 2018:
18
19               The car is extremely slow and makes a terrible rattle
                 noise each time you accelerate, which is normal
20               according to Volkswagen. The brakes require a firm
                 press to come to a full stop, which makes driving
21               extremely uncomfortable combined with how
                 underpowered the car is. The interior is very cheap. I've
22               had the car for 6 months and it rattles like it's five years
                 old. The only thing this car has going for it is the
23               excellent gas mileage. Otherwise, I can't wait to get rid
                 of this car.
24
25         76.   On cars.com, another consumer wrote on November 26, 2018:
26
                 Quiet ride except for the grinding noise in the
27               transmission switching from 4 th to 5th gear Buyer
                 beware Dealer has no idea how to fix the problem
28
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 1         77.   On cars.com, another consumer wrote on December 3, 2018:
 2
                 I have owned the Jetta for approximately 90 days. It has
 3               been to the dealer 3 times for a faulty transmission and
                 passenger window that does not go up and down. Each
 4               time the dealer keeps the car for one week and returns it
                 in the same condition. The transmission lurches forward
 5               from 1st to 2nd gears and drags between other gears.
                 There are hundreds of complaints online by 2019 Jetta
 6               owners having the same transmission issues. The VW
                 Dealer is indifferent to repairing the car and VW
 7               Corporate is downright INDIFFERENT, unprofessional
                 and spends a lot of energy dodging complaints than
 8               honoring consumers commitment and safety. A
                 defective transmission is dangerous. VW Corporate still
 9               hasn't issued a recall. I am invoking the LEMON LAW,
                 which is a hassle. Meanwhile, legal action against the
10               dealer is my only recourse to get rid of this LEMON.
11
           78.   On cars.com, another consumer wrote on December 5, 2018:
12
13               Loved the car when I test drove it. Then, unfortunately,
                 within 1 week heard this horrible grinding noise which
14               VW said was normal. They wouldn't do anything for me.
                 I ended up trading it in (losing a lot of money) because I
15               was afraid that the grinding noise would end up causing
                 a dangerous situation.
16
17         79.   In a forum for 2019 Jettas titled “Grinding Noise”9 on
18   carcomplaints.com, a consumer wrote on August 1, 2018:
19
                 I purchased my 2019 Volkswagen Jetta SEL-Premium
20               brand new. The 8 speed automatic transmission emits a
                 grinding noise that sounds metallic when up-shifting
21               under normal or light acceleration. Vibrations and
                 resonance can be felt in in the accelerator pedal and
22               floorboard. I have not taken the vehicle to the dealership
                 at this time as I do not want to waste my time sitting
23               around for several hours, only to be told by a service
                 advisor that Volkswagen feels the sound and
24               transmission behavior is "Normal" as that is their
                 OFFICIAL stance on the matter as of November 2018.
25               The sound is NOT NORMAL Volkswagen, do
                 something to fix these garbage transmissions that your
26               engineering team haphazardly chose to implement into
27
           9
            https://www.carcomplaints.com/Volkswagen/Jetta/2019/transmission/
28   grinding_noise.shtml (last viewed June 6, 2019).
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                 the MK7 Jetta!
 1
 2         80.   In the “Grinding Noise” forum on carcomplaints.com, another
 3   consumer wrote on August 30, 2018:
 4
                 I recently bought a 2019 Jetta S with 8 speed auto and
 5               having the same grind/gurgle type noise at 30 mph. Only
                 seems to happen when the rpm's are under 2000. I also
 6               get a similar sound when I hold the speed steady between
                 40 and 50 mph. Seem to occur in Eco mode and normal
 7               mode, but not in sport mode, or just not noticeable.
 8               I took it back to the dealer and had a tech go with me on
                 a drive. He said that it was "normal" that the turbo valve
 9               was releasing air. They did not document the issue. This
                 still bothers me, I called customer care to open a case and
10               have another appointment with a different dealer and will
                 make sure this gets documented.
11
                 Update after service appointment today, 9/12/18 19 Jetta
12               S Automatic
13               Had the car looked at by a different dealer today. Tech
                 took it for a ride than he drove with me. He does confirm
14               there is a noise present. When we went out for our drive,
                 I drove the car in all 3 modes. The noise is most present
15               in Eco mode. In Drive mode it is still there but is a little
                 better. In Sport mode I really do not notice it at all. At
16               this time the tech feels that the noise issue is normal due
                 to the 8 speed transmission being hooked up to a small
17               1.4t engine. He also mentioned giving the car more time
                 to break-in and see if there are any changes once I get
18               closer to 2,000 miles.
19               I just wonder how much damage this torque converter
                 vibration is doing to the rest of the engine and
20               transmission. This was my first VW ever, probably my
                 last one too.
21
22         81.   In another forum titled “Transmission Fluid Leak” on
23   carcomplaints.com,10 a consumer wrote on July 27, 2018:
24
                 I had not even made my first car payment when I brought
25               my car in for a flat tire. It was then that the dealer
                 discovered a large transmission leak. No lights went on
26               in my 2019 Jetta to indicate there was leak let alone a
27
           10
             https://www.carcomplaints.com/Volkswagen/Jetta/2019/transmission/
28   transmission_fluid_leak.shtml (last viewed June 6, 2019).
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                 problem. I had a loaner car for 2 and half weeks because
 1               the dealer stated they did not know when the 2019
                 transmission fluid would be released from Volkswagen.
 2               Not only did my new Jetta have a huge leak, and needed
                 to repair the transmission with new parts, but I had to
 3               wait a long time.
 4
           82.   In the “Transmission Fluid Leak” forum on carcomplaints.com,
 5
     another consumer wrote on October 27, 2018:
 6
 7               DO NOT PURCHASE A 2019 VW JETTA UNTIL
                 THEY FIGURE THE NEW PROBLEM OUT.
 8
                 I purchased a new 2019 Jetta Execline from Pickering
 9               Volkswagen on Oct 20, 2018. Drove the car and noticed
                 noises coming from the left side of the engine. The sales
10               manager at the dealership informed me that they know
                 about noises but that is normal. When the noises became
11               even more annoying, the car was taken in on Sat Oct 27,
                 2018 (one week later) as I cannot accept that this is
12               normal.
13               When the car was on the hoist the mechanic said the
                 transmission seals were leaking and showed me it
14               dripping. Also, the two drive shafts were making
                 clicking noises when each drive shaft was turned by hand
15               even slightly. If you rotate the wheels, there was a
                 distinct clicking noise and he said this is the second time
16               it has happened where the new cars have bad seals, but
                 that the clicking noises this problem has happened
17               before. I asked why wouldn't you tell your customers that
                 there is a problem before I bought the car, and there was
18               no answer by John Callaghan.
19               The sales manager said that he knew there is noise
                 complaints with the new car, but that was normal.
20               NORMAL my @$$. The service manager did his best to
                 smooth things over by saying he was working for me, but
21               he also is aware that the noises have been something they
                 experience but aren't telling the purchasers because it's
22               not on every sale.
23               CHECK CAREFULLY BEFORE YOU BUY FROM
                 PICKERING VW, THEY MAY NOT TELL YOU
24               EVERYTHING ABOUT YOUR CAR PURCHASE,
                 AND THEN SAY THEY CAN'T DO ANYTHING
25               ABOUT TAKING THE CAR BACK AS THEY ONLY
                 SELL THE CAR. WHAT B.S.
26
                 I believe that the new 2019 Jetta may have another
27               problem like the diesel problem where they are selling
                 cars even though they know there are mechanical and
28               potential safety issues with the car.
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                  DO NOT BUY A 2019 JETTA UNTIL VW FIGURES
 1                THIS OUT AND REPLACES THE BAD CARS OR
                  FIXES THEM ALL!!
 2
 3         83.    VWGoA had superior and exclusive knowledge of the Transmission
 4   Defect and knew or should have known that the defect was not known or
 5   reasonably discoverable by Plaintiffs and Class Members before they purchased
 6   or leased the Class Vehicles.
 7         84.    Plaintiffs are informed and believe, and based thereon allege, that
 8   before Plaintiffs purchased their respective Class Vehicles, and since early 2018,
 9   VWGoA knew about the Transmission Defect through sources not available to
10   consumers, including pre-release testing data, early consumer complaints to
11   VWGoA and its dealers, testing conducted in response to those consumer
12   complaints, high failure rates of the Transmission, the data demonstrating the
13   inordinately high volume of replacement part sales, and other aggregate data
14   from VWGoA dealers about the problem.
15         85.    VWGoA is experienced in the design and manufacture of consumer
16   vehicles. As an experienced manufacturer, VWGoA conducts tests, including
17   pre-sale durability testing, on incoming components, including the Transmission,
18   to verify the parts are free from defect and align with VWGoA’s specifications.11
19   Thus, VWGoA knew or should have known the Transmission was defective and
20   prone to put drivers in a dangerous position due to the inherent risk of the
21   Transmission Defect.
22         86.    Additionally, Defendant should have learned of this widespread
23   defect from the sheer number of reports received from dealerships. Defendant
24   VWGoA’s customer relations department, which interacts with individual
25   dealerships to identify potential common defects, has received numerous reports
26         11
               Akweli Parker, How Car Testing Works, HOWSTUFFWORKS.COM,
27   http://auto.howstuffworks.com/car-driving-safety/safety-regulatory-devices/car-
     testing.htm (“The idea behind car testing is that it allows manufactures to work out
28   all the kinks and potential problems of a model before it goes into full
     production.”) (last viewed June 5, 2019).
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 1   regarding the Transmission Defect, which led to the release of the Technical
 2   Tips. VWGoA’s customer relations department also collects and analyzes field
 3   data including, but not limited to, repair requests made at dealerships, technical
 4   reports prepared by engineers who have reviewed vehicles for which warranty
 5   coverage is being requested, parts sales reports, and warranty claims data.
 6         87.      Defendant’s warranty department similarly analyzes and collects
 7   data submitted by its dealerships to identify warranty trends in its vehicles. It is
 8   Defendant’s policy that when a repair is made under warranty the dealership
 9   must provide VWGoA with detailed documentation of the problem and a
10   complete disclosure of the repairs employed to correct it. Dealerships have an
11   incentive to provide detailed information to Defendant, because they will not be
12   reimbursed for any repairs unless the justification for reimbursement is
13   sufficiently detailed.
14         88.      The existence of the Transmission Defect is a material fact that a
15   reasonable consumer would consider when deciding whether to purchase or lease
16   a Class Vehicle. Had Plaintiffs and other Class Members known of the
17   Transmission Defect, they would have paid less for the Class Vehicles or would
18   not have purchased or leased them.
19         89.      Reasonable consumers, like Plaintiffs, expect that a vehicle’s
20   transmission is safe, will function in a manner that will not pose a safety risk,
21   and is free from defects. Plaintiffs and Class Members further reasonably expect
22   that VWGoA will not sell or lease vehicles with known safety defects, such as
23   the Transmission Defect, and will disclose any such defects to its consumers
24   when it learns of them. They did not expect VWGoA to conceal and fail to
25   disclose the Transmission Defect to them, and to then continually deny its
26   existence.
27                VWGoA Has Actively Concealed the Transmission Defect
28         90.      Despite its knowledge of the Transmission Defect in the Class
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 1   Vehicles, VWGoA actively concealed the existence and nature of the defect from
 2   Plaintiffs and Class Members. Specifically, VWGoA failed to disclose or
 3   actively concealed at and after the time of purchase, lease, or repair:
 4                (a)    any and all known material defects or material nonconformity
 5                       of the Class Vehicles, including the defects pertaining to the
 6                       Transmission;
 7                (b)    that the Class Vehicles, including the Transmission, were not
 8                       in good in working order, were defective, and were not fit for
 9                       their intended purposes; and
10                (c)    that the Class Vehicles and the Transmission were defective,
11                       despite the fact that VWGoA learned of such defects as early
12                       as early 2018.
13         91.    When consumers present their Class Vehicles to an authorized
14   VWGoA dealer for Transmission repairs, rather than repair the problem under
15   warranty, VWGoA dealers either inform consumers that their vehicles are
16   functioning properly or conduct repairs that merely mask the Transmission
17   Defect.
18         92.    VWGoA has caused Class Members to expend money at its
19   dealerships to diagnose, repair or replace the Class Vehicles’ Transmission
20   and/or related components, despite VWGoA’s knowledge of the Transmission
21   Defect.
22               VWGoA Has Unjustly Retained A Substantial Benefit
23         93.     On information and belief, Plaintiffs allege that Defendant
24   unlawfully failed to disclose the alleged defect to induce them and other putative
25   Class Members to purchase or lease the Class Vehicles.
26         94.    Plaintiffs further allege that Defendant thus engaged in deceptive
27   acts or practices pertaining to all transactions involving the Class Vehicles,
28   including Plaintiffs’.
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 1         95.     As discussed above therefore, Plaintiffs allege that Defendant
 2   unlawfully induced them to purchase their respective Class Vehicles by
 3   concealing a material fact (the defective Transmission) and that they would have
 4   paid less for the Class Vehicles, or not purchased them at all, had they known of
 5   the defect.
 6         96.     Accordingly, Defendant’s ill-gotten gains, benefits accrued in the
 7   form of increased sales and profits resulting from the material omissions that did
 8   - and likely will continue to - deceive consumers, should be disgorged.
 9                          CLASS ACTION ALLEGATIONS
10         97.     Plaintiffs bring this lawsuit as a class action on behalf of themselves
11   and all others similarly situated as members of the proposed Class pursuant to
12   Federal Rules of Civil Procedure 23(a) and 23(b)(3). This action satisfies the
13   numerosity, commonality, typicality, adequacy, predominance, and superiority
14   requirements of those provisions.
15         98.     The Class and Sub-Class are defined as:
16
                   Class: All individuals in the United States who
17                 purchased or leased any Volkswagen Jetta vehicle with
                   a Transmission.
18
                   California Sub-Class: All members of the Class who
19                 reside in the State of California.
20                 CLRA Sub-Class: All members of the California Sub-
                   Class who are “consumers” within the meaning of
21                 California Civil Code § 1761(d).
22                 Implied Warranty Sub-Class: All members of the
                   Class who purchased or leased their vehicles in the State
23                 of California.
24                 Pennsylvania Sub-Class: All members of the Class who
                   reside in the State of Pennsylvania.
25
26         99.     Excluded from the Class and Sub-Classes are: (1) Defendant, any
27   entity or division in which Defendant has a controlling interest, and their legal
28   representatives, officers, directors, assigns, and successors; (2) the Judge to
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 1   whom this case is assigned and the Judge’s staff; (3) any Judge sitting in the
 2   presiding state and/or federal court system who may hear an appeal of any
 3   judgment entered; and (4) those persons who have suffered personal injuries as a
 4   result of the facts alleged herein. Plaintiffs reserve the right to amend the Class
 5   and Sub-Class definitions if discovery and further investigation reveal that the
 6   Class and Sub-Class should be expanded or otherwise modified.
 7         100. Numerosity: Although the exact number of Class Members is
 8   uncertain, and can only be ascertained through appropriate discovery, the number
 9   is significant enough such that joinder is impracticable. The disposition of the
10   claims of these Class Members in a single action will provide substantial benefits
11   to all parties and to the Court. The Class Members are readily identifiable from
12   information and records in Defendant’s possession, custody, or control, as well
13   as from records kept by the Department of Motor Vehicles.
14         101. Typicality: Plaintiffs’ claims are typical of the claims of the Class
15   in that Plaintiffs, like all Class Members, purchased or leased a Class Vehicle
16   designed, manufactured, and distributed by VWGoA. The representative
17   Plaintiffs, like all Class Members, have been damaged by Defendant’s
18   misconduct in that they have incurred or will incur the cost of repairing or
19   replacing the defective Transmission and/or its components. Furthermore, the
20   factual bases of VWGoA’s misconduct are common to all Class Members and
21   represent a common thread resulting in injury to the Class.
22         102. Commonality: There are numerous questions of law and fact
23   common to Plaintiffs and the Class that predominate over any question affecting
24   Class Members individually. These common legal and factual issues include the
25   following:
26                (a)   Whether Class Vehicles suffer from defects relating to the
27                      Transmission;
28                (b)   Whether the defects relating to the Transmission constitute an
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 1                     unreasonable safety risk;
 2               (c)   Whether Defendant knew about the defects pertaining to the
 3                     Transmission and, if so, how long Defendant has known of
 4                     the defect;
 5               (d)   Whether the defective nature of the Transmission constitutes a
 6                     material fact;
 7               (e)   Whether Defendant has had an ongoing duty to disclose the
 8                     defective nature of the Transmission to Plaintiffs and Class
 9                     Members;
10               (f)   Whether Plaintiffs and the other Class Members are entitled
11                     to equitable relief, including a preliminary and/or a permanent
12                     injunction;
13               (g)   Whether Defendant knew or reasonably should have known of
14                     the defects pertaining to the Transmission before it sold and
15                     leased Class Vehicles to Class Members;
16               (h)   Whether Defendant should be declared financially responsible
17                     for notifying the Class Members of problems with the Class
18                     Vehicles and for the costs and expenses of repairing and
19                     replacing the defective Transmission and/or its components;
20               (i)   Whether Defendant is obligated to inform Class Members of
21                     their right to seek reimbursement for having paid to diagnose,
22                     repair, or replace their defective Transmission and/or its
23                     components;
24               (j)   Whether Defendant breached the implied warranty of
25                     merchantability pursuant to the Magnuson-Moss Warranty
26                     Act;
27               (k)   Whether Defendant breached the implied warranty of
28                     merchantability pursuant to the Song-Beverly Act
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 1                (l)    Whether Defendant breached its express warranties under
 2                       UCC section 2301; and
 3                (m)    Whether Defendant breached written warranties pursuant to
 4                       the Magnuson-Moss Warranty Act.
 5         103. Adequate Representation: Plaintiff swill fairly and adequately
 6   protect the interests of the Class Members. Plaintiffs have retained attorneys
 7   experienced in the prosecution of class actions, including consumer and product
 8   defect class actions, and Plaintiffs intend to vigorously prosecute this action.
 9         104. Predominance and Superiority: Plaintiffs and Class Members have
10   all suffered, and will continue to suffer, harm and damages as a result of
11   Defendant’s unlawful and wrongful conduct. A class action is superior to other
12   available methods for the fair and efficient adjudication of the controversy.
13   Absent a class action, most Class Members would likely find the cost of
14   litigating their claims prohibitively high and would therefore have no effective
15   remedy. Because of the relatively small size of the individual Class Members’
16   claims, it is likely that only a few Class Members could afford to seek legal
17   redress for Defendant’s misconduct. Absent a class action, Class Members will
18   continue to incur damages, and Defendant’s misconduct will continue unabated
19   without remedy or relief. Class treatment of common questions of law and fact
20   would also be a superior method to multiple individual actions or piecemeal
21   litigation in that it will conserve the resources of the courts and the litigants and
22   promote consistency and efficiency of adjudication.
23                             FIRST CAUSE OF ACTION
24             (Violation of California’s Consumers Legal Remedies Act,
25                         California Civil Code § 1750, et seq.)
26                       (On Behalf of the California Sub-Class)
27         105. Plaintiff Parrish incorporates by reference the allegations contained
28   in the preceding paragraphs of this Complaint.
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 1         106. Plaintiff Parrish brings this cause of action on behalf of himself and
 2   the CLRA Sub-Class (CLRA Sub-Class).
 3         107. Defendant is a “person” as defined by California Civil Code
 4   § 1761(c).
 5         108. Plaintiff Parrish and the CLRA Sub-Class members are “consumers”
 6   within the meaning of California Civil Code § 1761(d) because they purchased
 7   their Class Vehicles primarily for personal, family, or household use.
 8         109. By failing to disclose and concealing the defective nature of the
 9   Transmission from Plaintiff Parrish and prospective CLRA Sub-Class members,
10   Defendant violated California Civil Code § 1770(a), as it represented that the
11   Class Vehicles and their Transmission had characteristics and benefits that they
12   do not have, and represented that the Class Vehicles and their Transmission were
13   of a particular standard, quality, or grade when they were of another. See Cal.
14   Civ. Code §§ 1770(a)(5) & (7).
15         110. Defendant’s unfair and deceptive acts or practices occurred
16   repeatedly in Defendant’s trade or business, were capable of deceiving a
17   substantial portion of the purchasing public, and imposed a serious safety risk on
18   the public.
19         111. Defendant knew that the Class Vehicles and their Transmission
20   suffered from an inherent defect, were defectively designed, and were not
21   suitable for their intended use.
22         112. As a result of their reliance on Defendant’s omissions, owners
23   and/or lessees of the Class Vehicles, including Plaintiff Parrish, suffered an
24   ascertainable loss of money, property, and/or value of their Class Vehicles.
25   Additionally, as a result of the Transmission Defect, Plaintiff Parrish and the
26   CLRA Sub-Class members were harmed and suffered actual damages in that the
27   Class Vehicles’ Transmission and its components are substantially certain to fail
28   before their expected useful life has run.
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 1         113. Defendant was under a duty to Plaintiff Parrish and the CLRA Sub-
 2   Class members to disclose the defective nature of the Transmission and/or the
 3   associated repair costs because:
 4                (a)     Defendant was in a superior position to know the true state of
 5                        facts about the safety defect in the Class Vehicles’
 6                        Transmission;
 7                (b)     Plaintiff Parrish and the CLRA Sub-Class members could not
 8                        reasonably have been expected to learn or discover that their
 9                        Transmission had a dangerous safety defect until it
10                        manifested; and
11                (c)     Defendant knew that Plaintiff Parrish and the CLRA Sub-
12                        Class members could not reasonably have been expected to
13                        learn of or discover the safety defect.
14         114. In failing to disclose the defective nature of Transmission,
15   Defendant knowingly and intentionally concealed material facts and breached its
16   duty not to do so.
17         115. The facts Defendant concealed from or failed to disclose to Plaintiff
18   Parrish and the CLRA Sub-Class members are material in that a reasonable
19   consumer would have considered them to be important in deciding whether to
20   purchase or lease the Class Vehicles or pay less. Had Plaintiff Parrish and the
21   CLRA Sub-Class members known that the Class Vehicles’ Transmission was
22   defective, they would not have purchased or leased the Class Vehicles or would
23   have paid less for them.
24         116. Plaintiff Parrish and the CLRA Sub-Class members are reasonable
25   consumers who do not expect the transmission installed in their vehicles to
26   exhibit problems such as the Transmission Defect. This is the reasonable and
27   objective consumer expectation relating to a vehicle’s transmission.
28         117. As a result of Defendant’s conduct, Plaintiff Parrish and the CLRA
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 1   Sub-Class members were harmed and suffered actual damages in that, on
 2   information and belief, the Class Vehicles experienced and will continue to
 3   experience problems such as the Transmission Defect.
 4         118. As a direct and proximate result of Defendant’s unfair or deceptive
 5   acts or practices, Plaintiff Parrish and the CLRA Sub-Class members suffered
 6   and will continue to suffer actual damages.
 7         119. Plaintiff Parrish and the CLRA Sub-Class members are entitled to
 8   equitable relief.
 9         120. Plaintiff Parrish provided Defendant with notice of its violations of
10   the CLRA pursuant to California Civil Code § 1782(a). If, within 30 days,
11   Defendant fails to provide appropriate relief for their violations of the CLRA,
12   Plaintiff Parrish will amend this Complaint to seek monetary, compensatory, and
13   punitive damages, in addition to the injunctive and equitable relief that he seeks
14   now on behalf of himself and the CLRA Sub-Class.
15                           SECOND CAUSE OF ACTION
16       (Violation of California Business & Professions Code § 17200, et seq.)
17                       (On Behalf of the California Sub-Class)
18         121. Plaintiff Parrish incorporates by reference the allegations contained
19   in the preceding paragraphs of this Complaint.
20         122. Plaintiff Parrish brings this cause of action on behalf of himself and
21   the California Sub-Class (CA Sub-Class).
22         123. As a result of their reliance on Defendant’s omissions, owners
23   and/or lessees of the Class Vehicles, including Plaintiff Parrish, suffered an
24   ascertainable loss of money, property, and/or value of their Class Vehicles.
25   Additionally, as a result of the Transmission Defect, Plaintiff Parrish and the CA
26   Sub-Class members were harmed and suffered actual damages in that the Class
27   Vehicles’ Transmission and/or its components are substantially certain to fail
28   before their expected useful life has run.
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 1            124. California Business & Professions Code § 17200 prohibits acts of
 2   “unfair competition,” including any “unlawful, unfair or fraudulent business act
 3   or practice” and “unfair, deceptive, untrue or misleading advertising.”
 4            125. Plaintiff Parrish and the CA Sub-Class members are reasonable
 5   consumers who do not expect their transmission to exhibit problems such as loss
 6   of power, premature wear, and frequent replacement or repair.
 7            126. Defendant knew the Class Vehicles and their Transmissions were
 8   defectively designed or manufactured, would fail prematurely, and were not
 9   suitable for their intended use.
10            127. In failing to disclose the Transmission Defect, Defendant has
11   knowingly and intentionally concealed material facts and breached its duty not to
12   do so.
13            128. Defendant was under a duty to Plaintiff Parrish and the CA Sub-
14   Class members to disclose the defective nature of the Class Vehicles and their
15   Transmission because:
16                  (a)   Defendant was in a superior position to know the true state of
17                        facts about the safety defect in the Class Vehicles’
18                        Transmission; and
19                  (b)   Defendant actively concealed the defective nature of the Class
20                        Vehicles and their Transmission from Plaintiff Parrish and the
21                        CA Sub-Class.
22            129. The facts Defendant concealed from or failed to disclose to Plaintiff
23   Parrish and the CA Sub-Class members are material in that a reasonable person
24   would have considered them to be important in deciding whether to purchase or
25   lease Class Vehicles. Had they known of the Transmission Defect, Plaintiff
26   Parrish and the other CA Sub-Class members would have paid less for Class
27   Vehicles equipped with the Transmission or would not have purchased or leased
28   them at all.
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 1         130. Defendant continued to conceal the defective nature of the Class
 2   Vehicles and their Transmission even after Plaintiff Parrish and the other CA
 3   Sub-Class members began to report problems.
 4         131. Defendant’s conduct was and is likely to deceive consumers.
 5         132. Defendant’s acts, conduct, and practices were unlawful, in that they
 6   constituted:
 7                  (a)   Violations of California’s Consumers Legal Remedies Act;
 8                  (b)   Violations of the Song-Beverly Consumer Warranty Act;
 9                  (c)   Violations of the Magnuson-Moss Warranty Act; and
10                  (d)   Breach of Express Warranty under California Commercial
11                        Code § 2313.
12         133. By its conduct, Defendant has engaged in unfair competition and
13   unlawful, unfair, and fraudulent business practices.
14         134. Defendant’s unfair or deceptive acts or practices occurred
15   repeatedly in Defendant’s trade or business and were capable of deceiving a
16   substantial portion of the purchasing public.
17         135. As a direct and proximate result of Defendant’s unfair and deceptive
18   practices, Plaintiff Parrish and the other CA Sub-Class members have suffered
19   and will continue to suffer actual damages.
20         136. Defendant has been unjustly enriched and should be required to
21   make restitution to Plaintiff Parrish and the other CA Sub-Class members
22   pursuant to §§ 17203 and 17204 of the Business & Professions Code.
23                             THIRD CAUSE OF ACTION
24              (Breach of Implied Warranty Pursuant to Song-Beverly
25    Consumer Warranty Act, California Civil Code §§ 1792 and 1791.1, et seq.)
26                    (On Behalf of the Implied Warranty Sub-Class)
27         137. Plaintiff Parrish incorporates by reference the allegations contained
28   in the preceding paragraphs of this Complaint.
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 1         138. Plaintiff Parrish brings this cause of action against Defendant on
 2   behalf of himself and the Implied Warranty Sub-Class (IW Sub-Class).
 3         139. Defendant was at all relevant times the manufacturer, distributor,
 4   warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to
 5   know of the specific use for which the Class Vehicles were purchased or leased.
 6         140. Defendant provided Plaintiff Parrish and the IW Sub-Class members
 7   with an implied warranty that the Class Vehicles and their components and parts
 8   are merchantable and fit for the ordinary purposes for which they were sold.
 9   However, the Class Vehicles are not fit for their ordinary purpose of providing
10   reasonably reliable and safe transportation because, inter alia, the Class Vehicles
11   and their Transmission suffered from an inherent defect at the time of sale and
12   thereafter and are not fit for their particular purpose of providing safe and
13   reliable transportation.
14         141. Defendant impliedly warranted that the Class Vehicles were of
15   merchantable quality and fit for their intended use. This implied warranty
16   included, among other things: (i) a warranty that the Class Vehicles and their
17   Transmission, which were manufactured, supplied, distributed, and/or sold by
18   VWGoA, would provide safe and reliable transportation; and (ii) a warranty that
19   the Class Vehicles and their Transmission would be fit for their intended use.
20         142. Contrary to the applicable implied warranties, the Class Vehicles
21   and their Transmission at the time of sale and thereafter were not fit for their
22   ordinary and intended purpose of providing Plaintiff Parrish and the IW Sub-
23   Class members with reliable, durable, and safe transportation. Instead, the Class
24   Vehicles are defective, including the defective Transmission.
25         143. The alleged Transmission Defect is inherent and was present in each
26   Class Vehicle at the time of sale.
27         144. As a result of Defendant’s breach of the applicable implied
28   warranties, owners and/or lessees of the Class Vehicles suffered an ascertainable
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 1   loss of money, property, and/or value of their Class Vehicles. Additionally, as a
 2   result of the Transmission Defect, Plaintiff Parrish and the IW Sub-Class
 3   members were harmed and suffered actual damages in that the Class Vehicles’
 4   Transmission and/or its components are substantially certain to fail before their
 5   expected useful life has run.
 6         145. Defendant’s actions, as complained of herein, breached the implied
 7   warranty that the Class Vehicles were of merchantable quality and fit for such
 8   use in violation of California Civil Code §§ 1792 and 1791.1.
 9                           FOURTH CAUSE OF ACTION
10          (Breach of Warranty under the Magnuson-Moss Warranty Act,
11                               15 U.S.C. § 2303 et seq.)
12                               (On Behalf of the Class)
13         146. Plaintiffs incorporate by reference the allegations contained in the
14   preceding paragraphs of this Complaint.
15         147. Plaintiffs bring this cause of action on behalf of themselves and on
16   behalf of the Class against Defendant.
17         148. Defendant provided all purchasers and lessees of the Class Vehicles
18   with an express warranty described infra, which became a material part of the
19   bargain. Accordingly, Defendant’s express warranty is an express warranty
20   under California law.
21         149. The Transmission and its component parts were manufactured
22   and/or installed in the Class Vehicles by Defendant and are covered by the
23   express warranty.
24         150. In a section entitled “What’s Covered,” Defendant’s express
25   warranty provides in relevant part that “The Basic Limited Warranty covers the
26   cost of all parts and labor needed to repair any item on your vehicle when it left
27   the manufacturing plant that is defective in material, workmanship or factory
28   preparation.” The warranty further provides that “You pay nothing for these
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 1   repairs. These warranty repairs or adjustments—including all parts and labor
 2   connected with them—will be made by your dealer at no charge, using new or
 3   remanufactured parts.”
 4            151. According to VWGoA, “The Basic Limited Warranty lasts for 36
 5   months from the date it begins or for 36,000 miles on the odometer, whichever
 6   occurs first.”
 7            152. Defendant also provides a “Powertrain Limited Warranty” that
 8   “covers the cost of all parts and labor needed to repair a powertrain component
 9   listed in section 2.4.E below that is defective in workmanship and materials.”
10   Section 2.4.E., in turn, lists “Transmission: transmission case and all internal
11   parts; torque converter; drive/flex plate; transmission range switch; speed
12   sensors; pressure sensors; transmission control module; bell housing; oil pan;
13   seals and gaskets for listed components only;” as well as “Front wheel drive:
14   transaxle case and all internal parts… differential cover; oil pan; transaxle speed
15   sensors; transaxle solenoid assembly, PRNDL position switch; transaxle
16   electronic controller; torque converter; seals and gaskets for listed components
17   only.”
18            153. According to VWGoA, “The Powertrain Limited Warranty lasts for
19   up to 5 years or 100,000 miles on the odometer, whichever occurs first…”
20            154. Defendant breached the express warranties by selling and leasing
21   Class Vehicles with Transmissions that were defective, requiring repair or
22   replacement within the warranty period, and refusing to honor the express
23   warranty by repairing or replacing, free of charge, the Transmission and its
24   component parts, and instead, replacing the defective Transmission and its
25   components with equally defective Transmissions and components. By simply
26   replacing Plaintiffs’ and Class Members’ defective Transmissions with similarly
27   defective parts, VWGoA has failed to “repair” the defects as alleged herein.
28            155. Plaintiffs were not required to notify VWGoA of the breach or was
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 1   not required to do so because affording VWGoA a reasonable opportunity to
 2   cure its breach of written warranty would have been futile. Defendant was also
 3   on notice of the defect from complaints and service requests it received from
 4   Class Members, from repairs and/or replacements of the Transmission, and from
 5   other internal sources.
 6         156. As a direct and proximate cause of Defendant’s breach, Plaintiffs
 7   and the other Class members have suffered, and continue to suffer, damages,
 8   including economic damages at the point of sale or lease. Additionally, Plaintiffs
 9   and the other Class members have incurred or will incur economic damages at
10   the point of repair in the form of the cost of repair.
11         157. Plaintiffs and the other Class members are entitled to legal and
12   equitable relief against Defendant, including actual damages, consequential
13   damages, specific performance, attorneys’ fees, costs of suit, and other relief as
14   appropriate.
15                              FIFTH CAUSE OF ACTION
16     (Breach of Implied Warranty under the Magnuson-Moss Warranty Act,
17                                15 U.S.C. § 2303 et seq.)
18                                (On Behalf of the Class)
19         158. Plaintiffs incorporate by reference the allegations contained in the
20   preceding paragraphs of this Complaint.
21         159. Plaintiffs bring this cause of action on behalf of themselves and the
22   Class against Defendant.
23         160. The Class Vehicles are a “consumer product” within the meaning of
24   the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
25         161. Plaintiffs and Class Members are “consumers” within the meaning
26   of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
27         162. Defendant is a “supplier” and “warrantor” within the meaning of the
28   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).
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 1         163. VWGoA impliedly warranted that the Class Vehicles were of
 2   merchantable quality and fit for use. This implied warranty included, among
 3   other things: (i) a warranty that the Class Vehicles and their Transmission were
 4   manufactured, supplied, distributed, and/or sold by VWGoA would provide safe
 5   and reliable transportation; and (ii) a warranty that the Class Vehicles and their
 6   Transmission would be fit for their intended use while the Class Vehicles were
 7   being operated.
 8         164. Contrary to the applicable implied warranties, the Class Vehicles
 9   and their Transmissions at the time of sale and thereafter were not fit for their
10   ordinary and intended purpose of providing Plaintiffs and Class members with
11   reliable, durable, and safe transportation. Instead, the Class Vehicles are
12   defective, including the defective design of their Transmission.
13         165. Defendant’s breach of implied warranties has deprived Plaintiffs
14   and Class members of the benefit of their bargain.
15         166. The amount in controversy of Plaintiffs’ individual claims meets or
16   exceeds the sum or value of $25,000. In addition, the amount in controversy
17   meets or exceeds the sum or value of $50,000 (exclusive of interests and costs)
18   computed on the basis of all claims to be determined in this suit.
19         167. Defendant has been afforded a reasonable opportunity to cure its
20   breach, including when Plaintiffs and Class members brought their vehicles in
21   for diagnoses and repair of the Transmission.
22         168. As a direct and proximate cause of Defendant’s breach of implied
23   warranties, Plaintiffs and Class members sustained and incurred damages and
24   other losses in an amount to be determined at trial. Defendant’s conduct
25   damaged Plaintiffs and Class members, who are entitled to recover actual
26   damages, consequential damages, specific performance, diminution in value,
27   costs, attorneys’ fees, and/or other relief as appropriate.
28         169. As a result of Defendant’s violations of the Magnuson-Moss
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 1   Warranty Act as alleged herein, Plaintiffs and Class members have incurred
 2   damages.
 3                            SIXTH CAUSE OF ACTION
 4              (Violation of the Pennsylvania Unfair Trade Practices and
 5                 Consumer Protection Law – 73 P.S. § 201-1, et seq.)
 6                     (On Behalf of the Pennsylvania Sub-Class)
 7         170. Plaintiff Wood incorporates by reference all preceding allegations as
 8   though fully set forth herein
 9         171. Plaintiff Wood asserts this claim on behalf of himself and the other
10   members of the Pennsylvania Sub-Class (PA Sub-Class).
11         172. Plaintiff Wood and the PA Sub-Class purchased or leased their
12   Class Vehicles primarily for personal, family or household purposes within the
13   meaning of 73 P.S. § 201-9.2.
14         173. All of the acts complained of herein were perpetrated by Defendant
15   in the course of trade or commerce within the meaning of 73 P.S. § 201-2(3).
16         174. The Pennsylvania Unfair Trade Practices and Consumer Protection
17   Law (“UTPCPL”) prohibits unfair or deceptive acts or practices, including: (i)
18   “Representing that goods or services have … characteristics, …. [b]enefits or
19   qualities that they do not have;” (ii) “Representing that goods or services are of a
20   particular standard, quality or grade … if they are of another;” (iii) “Advertising
21   goods or services with intent not to sell them as advertised;” and (iv) “Engaging
22   in any other fraudulent or deceptive conduct which creates a likelihood of
23   confusion or misunderstanding.” 73 P.S. § 201-2(4).
24         175. Defendant engaged in unlawful trade practices, including
25   representing that Class Vehicles have characteristics, uses, benefits, and qualities
26   which they do not have; representing that Class Vehicles are of a particular
27   standard and quality when they are not; advertising Class Vehicles with the
28   intent not to sell them as advertised; and engaging in any other fraudulent or
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 1   deceptive conduct which creates a likelihood of confusion or of
 2   misunderstanding.
 3         176. In the course of its business, Defendant concealed the Transmission
 4   Defect as described herein and otherwise engaged in activities with a tendency or
 5   capacity to deceive. Defendant also engaged in unlawful trade practices by
 6   employing deception, deceptive acts or practices, fraud, misrepresentations, or
 7   concealment, suppression or omission of any material fact with intent that others
 8   rely upon such concealment, suppression or omission, in connection with the sale
 9   of Class Vehicles.
10         177. Defendant has known of the Transmission Defect and the true nature
11   of its Transmission system when it sold the Vehicles but concealed all of that
12   information.
13         178. By failing to disclose and by actively concealing the Transmission
14   Defect and the true nature of its Transmission system, by marketing its vehicles
15   as safe, reliable, easily operable, efficient, and of high quality, and by presenting
16   itself as a reputable manufacturer that valued safety, cleanliness, performance
17   and efficiency, and stood behind its vehicles after they were sold, Defendant
18   engaged in unfair and deceptive business practices in violation of the UTPCPL.
19         179. Defendant’s unfair or deceptive acts or practices were likely to and
20   did in fact deceive reasonable consumers, including Plaintiff Wood and the PA
21   Sub-Class, about the true performance and characteristics of the Class Vehicles.
22         180. Defendant intentionally and knowingly misrepresented material
23   facts regarding the Class Vehicles with intent to mislead the Plaintiff Wood and
24   the PA Sub-Class.
25         181. Defendant knew or should have known that its conduct violated the
26   UTPCPL.
27         182. Because Defendant fraudulently concealed the Transmission Defect,
28   the value of the Class Vehicles has greatly diminished.
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 1            183. Defendant’s concealment of the true characteristics of the
 2   Transmission was material to the Plaintiff Wood and the Pennsylvania Sub-
 3   Class.
 4            184. The Plaintiff Wood and the PA Sub-Class suffered ascertainable
 5   loss caused by Defendant’s misrepresentations and its concealment of and failure
 6   to disclose material information.
 7            185. Defendant had an ongoing duty to all its customers to refrain from
 8   unfair and deceptive acts or practices under the UTPCPL. All owners of Class
 9   Vehicles suffered ascertainable loss in the form of the diminished value of their
10   vehicles as a result of Defendant’s deceptive and unfair acts and practices that
11   occurred in the course of Defendant’s business.
12            186. As a direct and proximate result of Defendant’s violations of the
13   UTPCPL, the Plaintiff Wood and the PA Sub-Class have suffered injury-in-fact
14   and/or actual damage.
15            187. Defendant is liable to the Plaintiff Wood and the PA Sub-Class for
16   treble their actual damages or $100, whichever is greater, and attorneys’ fees and
17   costs. See 73 P.S. § 201-9.2(a). The Plaintiff Wood and the PA Sub-Class are
18   also entitled to an award of punitive damages given that Defendant’s conduct
19   was malicious, wanton, willful, oppressive, or exhibited a reckless indifference
20   to the rights of others.
21                              SEVENTH CAUSE OF ACTION
22                                 (For Unjust Enrichment)
23                                  (On Behalf of the Class)
24            188. Plaintiffs incorporate by reference the allegations contained in the
25   preceding paragraphs of this Complaint.
26            189. Plaintiffs bring this cause of action on behalf of themselves and the
27   Class.
28            190. As a direct and proximate result of Defendant’s failure to disclose
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 1   known defects, Defendant has profited through the sale and lease of the Class
 2   Vehicles. Although these vehicles are purchased through Defendant’s agents,
 3   the money from the vehicle sales flows directly back to Defendant.
 4         191. Additionally, as a direct and proximate result of Defendant’s failure
 5   to disclose known defects in the Class Vehicles, Plaintiffs and Class Members
 6   have vehicles that require repeated, high-cost repairs that can and therefore have
 7   conferred an unjust substantial benefit upon Defendant.
 8         192. Defendant has been unjustly enriched due to the known defects in
 9   the Class Vehicles through the use money paid that earned interest or otherwise
10   added to Defendant’s profits when said money should have remained with
11   Plaintiffs and Class Members.
12         193. As a result of the Defendant’s unjust enrichment, Plaintiffs and
13   Class Members have suffered damages.
14                               RELIEF REQUESTED
15         194. Plaintiffs, on behalf of themselves and all others similarly situated,
16   request the Court to enter judgment against Defendant, as follows:
17               (a)    An order certifying the proposed Class and Sub-Classes,
18                      designating Plaintiffs as named representatives of the Class,
19                      and designating the undersigned as Class Counsel;
20               (a)    A declaration that Defendant is financially responsible for
21                      notifying all Class Members about the defective nature of the
22                      Transmission, including the need for periodic maintenance;
23               (b)    An order enjoining Defendant from further deceptive
24                      distribution, sales, and lease practices with respect to Class
25                      Vehicles; compelling Defendant to issue a voluntary recall for
26                      the Class Vehicles pursuant to. 49 U.S.C. § 30118(a);
27                      compelling Defendant to remove, repair, and/or replace the
28                      Class Vehicles’ defective Transmission and/or its components
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 1                     with suitable alternative product(s) that do not contain the
 2                     defects alleged herein; enjoining Defendant from selling the
 3                     Class Vehicles with the misleading information; and/or
 4                     compelling Defendant to reform its warranty, in a manner
 5                     deemed to be appropriate by the Court, to cover the injury
 6                     alleged and to notify all Class Members that such warranty
 7                     has been reformed;
 8               (c)   A declaration requiring Defendant to comply with the various
 9                     provisions of the Song-Beverly Act alleged herein and to
10                     make all the required disclosures;
11               (d)   An award to Plaintiffs and the Class for compensatory,
12                     exemplary, and statutory damages, including interest, in an
13                     amount to be proven at trial; except that Plaintiffs do not
14                     currently seek monetary damages under the Consumers Legal
15                     Remedies Act;
16               (e)   Any and all remedies provided pursuant to the Song-Beverly
17                     Act, including California Civil Code section 1794;
18               (f)   Any and all remedies provided pursuant to the Magnuson-
19                     Moss Warranty Act;
20               (g)   A declaration that Defendant must disgorge, for the benefit of
21                     the Class, all or part of the ill-gotten profits it received from
22                     the sale or lease of its Class Vehicles or make full restitution
23                     to Plaintiffs and Class Members;
24               (h)   An award of attorneys’ fees and costs, as allowed by law;
25               (i)   An award of attorneys’ fees and costs pursuant to California
26                     Code of Civil Procedure § 1021.5;
27               (j)   An award of pre-judgment and post-judgment interest, as
28                     provided by law;
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 1                (k)    Leave to amend the Complaint to conform to the evidence
 2                       produced at trial; and
 3                (l)    Such other relief as may be appropriate under the
 4                       circumstances.
 5                              DEMAND FOR JURY TRIAL
 6         195. Pursuant to Federal Rule of Civil Procedure 38(b) and Central
 7   District of California Local Rule 38-1, Plaintiffs demands a trial by jury of all
 8   issues in this action so triable.
 9
     Dated: June 10, 2019                       Respectfully submitted,
10
                                                Capstone Law APC
11
12
                                           By: /s/ Mark A. Ozzello
13                                             Mark A. Ozzello
                                               Tarek H. Zohdy
14                                             Cody R. Padgett
                                               Trisha K. Monesi
15
                                                Attorneys for Plaintiffs
16
17                                            /s/ Russell D. Paul
                                                Russell D. Paul
18                                              Amey J. Park
19                                              BERGER MONTAGUE PC
20
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         EXHIBIT 1
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13

14   Attorneys for Plaintiffs
15
                           UNITED STATES DISTRICT COURT
16
                         CENTRAL DISTRICT OF CALIFORNIA
17

18   DOMINIQUE PARRISH and EVAN                Case No.:
     WOOD, individually, and on behalf
19   of a class of similarly situated
     individuals,
20                                             DECLARATION OF DOMINIQUE
                  Plaintiffs,                  PARISH IN SUPPORT OF VENUE
21                                             FOR CLASS ACTION COMPLAINT
           v.                                  PURSUANT TO CIVIL CODE
22                                             SECTION 1780(d)
     VOLKSWAGEN GROUP OF
23   AMERICA, INC. a Delaware limited
     liability company,
24
                  Defendant.
25

26
27

28


                                DECLARATION IN SUPPORT OF VENUE
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 1         1.     I make this declaration based upon my personal knowledge except
 2   as to those matters stated herein that are based upon information and belief, and
 3   as to those matters I believe them to be true. I am over the age of eighteen, a
 4   citizen of the State of California, and a Plaintiff in this action.
 5         2.     Pursuant to California Civil Code section 1780(d), this Declaration
 6   is submitted in support of Plaintiff’s Selection of Venue for the Trial of
 7   Plaintiff’s Cause of Action alleging violation of California’s Consumers Legal
 8   Remedies Act against Defendant, Volkswagen Group of America, Inc.
 9   (“VWGoA”).
10         3.     I purchased my 2019 Volkswagen Jetta—the subject vehicle in this
11   lawsuit—from Norm Reeves Volkswagen Superstore, an authorized VWGoA
12   dealer in Irvine, California, which is the County of Orange.
13         4.     I am informed and believe that Defendant VWGoA is a corporation
14   organized and in existence under the laws of the State of New Jersey and
15   registered to do business in the State of California. On information and belief,
16   VWGoA conducts business in Orange County, including marketing, distributing,
17   selling, and/or servicing vehicles through its authorized dealerships.
18         5.     Based on the facts set forth herein, this Court is a proper venue for
19   the prosecution of Plaintiff’s Cause of Action alleging violation of California’s
20   Consumers Legal Remedies Act because vehicles a substantial portion of the
21   events giving rise to my claims occurred here. Further, Defendant conducts
22   business in the Central District of California and the County of Orange,
23   California, including, but not limited to, marketing, distributing, selling, and/or
24   servicing Class Vehicles to Class Members.
25

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28                                             Page 1
                                 DECLARATION IN SUPPORT OF VENUE
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 1         6.    I declare under penalty of perjury under the laws of California and
 2   the United States of America that the foregoing is true and correct.
 3
                                     
 4         Executed on June ____, 2019 in _____________, California.
 5

 6
                                          By:
 7
                                                Dominique Parrish
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                                DECLARATION IN SUPPORT OF VENUE
